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                   IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF COLUMBIA
______________________________________________________________________________
                                            :
UNITED STATES OF AMERICA ex rel.            :
WILLIAM “BILL” SMITH                        :
814 Creek Road                              :
Severna Park, Maryland 21146                :
                                            :
              Plaintiff,                    :   Civil Action: 1:18-cv-02080-APM
v.                                          :
                                            :
Athena Construction Group, Inc.             :
17877 Old Triangle Road                     :
Triangle, Virginia, 22172                   :
                                            :   SECOND AMENDED
Clark/Balfour Beatty - NCE, A Joint Venture :   COMPLAINT
7500 Old Georgetown Road                    :
Bethesda, Maryland 20814                    :
                                            :
Balfour Beatty Construction Company, Inc.   :
3100 McKinnon Street, Floor 10              :
Dallas, Texas 75201                         :
                                            :
Clark Construction Company                  :   FILED UNDER SEAL
7500 Old Georgetown Road                    :   PURSUANT TO
Bethesda, Maryland 20814                    :   COURT ORDER
                                            :   AND 31 U.S.C. § 3730(b)(2)
Hensel Phelps Construction Company          :
420 6th Avenue                              :
Greeley, Colorado 80631                     :
                                            :
Barton Malow Company                        :
26500 American Drive                        :
Southfield, Michigan 48034                  :
                                            :
CDM Smith/Coakley Williams JV               :
16 South Summit Avenue                      :
Gaithersburg, Maryland 20877                :
                                            :
CDM Smith Inc.                              :
75 State Street                             :
Boston, Massachusetts                       :
______________________________________________________________________________




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______________________________________________________________________________

                                          :
Coakley & Williams Construction, Inc.     :
7475 Wisconsin Avenue                     :
Bethesda, Maryland 20814                  :
                                          :
Turner/Gilbane JV                         :
3865 Wilson Boulevard, Suite 300          :
Arlington, Virginia 22203                 :
                                          :
Gilbane Building Company                  :
7 Jackson Walkway                         :
Providence, Rhode Island 02903            :
                                          :
Turner Construction Company               :
375 Hudson Street                         :
New York, New York 10014                  :
                                          :
Component Assembly Systems, Inc.          :
620 Fifth Avenue                          :
Pelham, New York 10803                    :
                                          :
Commonwealth Wall Systems LLC             :
5520 Cherokee Avenue, Suite #215          :
Alexandria, Virginia 22312                :
                                          :
                     and                  :
                                          :
John Does #1-50, Fictitious Names,        :
                                          :
              Defendants.                 :
______________________________________________________________________________




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     SECOND AMENDED COMPLAINT FOR FALSE CLAIMS ACT VIOLATIONS
                       UNDER 31 U.S.C. § 3729

       This is an action brought on behalf of the United States of America by Relator William

“Bill” Smith, by and through his attorneys, against Defendant Athena Construction Group, Inc.

(“Athena”) and Co-Defendants Clark/Balfour Beatty—NCE, A Joint Venture (“Clark/Balfour

Beatty JV”); Clark Construction Company (“Clark”); Balfour Beatty Construction Company, Inc.

(“Balfour Beatty”); Hensel Phelps Construction Co. (“Hensel Phelps”); Barton Malow Company

(“Barton Malow”); CDM Smith/Coakley Williams JV (“CDMS/CW”); CDM Smith, Inc. (“CDM

Smith”); Coakley & Williams Construction, Inc. (“Coakley & Williams”); Turner/Gilbane JV

(“Turner/Gilbane”); Turner Construction, Inc. (“Turner”); Gilbane Building Company

(“Gilbane”); Component Assembly Systems, Inc. (“CAS”); Commonwealth Wall Systems LLC

(“Commonwealth”); and John Does #1-50, Fictitious Names, pursuant to the qui tam provisions

of the Federal Civil False Claims Act, 31 U.S.C. §§ 3729-3733 (“FCA”) (all but Athena referred

to herein as “Co-Defendants”).

I.     INTRODUCTION

       1.      This is an action to recover damages and civil penalties on behalf of the United

States arising from false statements and claims that Defendants knowingly presented, or caused to

be presented, to the United States in violation of the FCA.

       2.      At issue in this case is Defendants’ fraudulent course of conduct related to several

large and important government projects, including, but not limited to, the Walter Reed

Department of Veterans Affairs (“VA”) Hospital, the Intelligence Community Campus, the Audie

Murphy VA Hospital, the United States Marine Corps University, the Fort Belvoir VA Hospital,

the St. Elizabeths Tunnel, the Richard H. Poff Federal Building, the National Geospatial-




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Intelligence Agency, the Social Security Administration Headquarters and the Camp Pendleton

Naval Hospital.

       3.      The fraudulent conduct at issue arises from two schemes. First, Defendant Athena

fraudulently obtained HUBZone certification from the Small Business Administration (“SBA”) by

falsely representing its eligibility to participate in that program, which limits competition for

certain government contracts to businesses in historically underutilized business zones. Athena

then used its fraudulently obtained HUBZone certification to obtain lucrative contracting

opportunities reserved for legitimate HUBZone businesses. Second, Defendant Athena and Co-

Defendants conspired to use Athena’s collection of SBA small business classifications—i.e.,

woman-owned small business (“WOSB”) and service-disabled veteran owned small business

(“SDVOSB”), along with its fraudulent HUBZone certification—as part of an illegal pass-through

scheme.

       4.      The pass-through scheme allowed Co-Defendants to falsely claim credit for

awarding millions of dollars in subcontracts to a small business that was, in fact, controlled by

large business contractors, in violation of the ostensible subcontractor rule.

       5.      In perpetration of its fraudulent conduct, Defendants made numerous materially

false statements and certifications to the government relating to the contracts awarded to Defendant

Athena. For example, despite knowing that Defendant Athena was merely a pass-through and was

not actually performing any material work on these projects, each Co-Defendant:

       (a) falsely certified and represented to the government that it intended to comply
           in good faith with the terms of its Subcontracting Plan;

       (b) submitted monthly progress payment requests certifying and representing to the
           government that it was fulfilling its material obligations to comply in good faith
           with its Subcontracting Plan; and




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       (c) filed false Interim Subcontracting Reports (“ISRs”) concerning the progress
           toward meeting its Subcontracting Plan.

       6.       Co-Defendants also paid Defendant Athena illegal “fees” (also referred to as “small

business fees” or “administrative fees”) for the use of Athena’s various small business

classifications. These unlawful payments violated the terms of the Anti-Kickback Act (“AKA”),

41 U.S.C. §§ 8701–8708, by providing and/or receiving any “thing of value … that is provided to

a prime contractor, prime contractor employee, subcontractor, or subcontractor employee to

improperly obtain or reward favorable treatment in connection with a prime contract or a

subcontract relating to a prime contract.” Id. § 8701(2).

       7.       As a direct, proximate and foreseeable result of Defendants’ fraudulent course of

conduct set forth herein, from at least 2011 through the present, Defendants have knowingly made

numerous false express and implied certifications and/or caused the submission of thousands of

false or fraudulent statements and false claims to government programs for payment for their

services.

       8.       Defendants agreed to enter into this scheme to present these false claims and

statements to the United States, and these false claims and statements were made in furtherance of

conspiracies to defraud the United States. The purpose of the scheme has, at all relevant times,

been to receive payment under false pretenses for claims submitted to the United States.

       9.       As a result of these false certifications, reports, and claims, the government was

falsely and/or fraudulently induced to conduct hundreds of transactions with Defendants, in the

form of greater transfers and dollars fraudulently paid. Because the United States was falsely

and/or fraudulently induced to complete these transactions with Defendants, each claim for

payment under the contracts was a false claim.




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        10.      Among other misconduct, Defendants conspired amongst themselves as well as

with numerous co-conspirators to deceive the government as to the small business status of

Defendant Athena.

        11.      Accordingly, Relator Smith, on behalf of the United States, pursuant to the FCA,

seeks all applicable damages and penalties from Defendants for knowingly submitting false claims.

II.     JURISDICTION AND VENUE

        12.      On August 29, 2018, this action was transferred to this Court by Order of the

Honorable Judge Sylvia Rambo of the United States District Court for the Middle District of

Pennsylvania.

        13.      This Court has subject matter jurisdiction over claims brought on behalf of the

United States under the FCA, pursuant to 31 U.S.C. §§ 3730, 3732.

        14.      This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C.

§ 3732(a) because they transact business and are found in this judicial district, and acts proscribed

by 31 U.S.C. § 3729 occurred in this judicial district.

        15.      Venue is proper in this judicial district under 31 U.S.C. § 3732(a) and 28 U.S.C.

§ 1391(b) because acts that form the basis of this Second Amended Complaint occurred in this

judicial district.

        16.      The causes of action alleged herein are timely brought because of, among other

things, efforts by Defendants to conceal their wrongdoing.

III.    PARTIES

        A.       PLAINTIFF/RELATOR

        17.      Relator/Plaintiff William “Bill” Smith (herein “Mr. Smith”) is an adult citizen of

the State of Maryland, residing at 814 Creek Road, Severna Park, Maryland 21146. Mr. Smith




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was employed by Defendant Athena from 2011 to 2016 as the Director of Operations and Project

Superintendent.

       18.     Mr. Smith has direct knowledge of the conduct alleged in this Second Amended

Complaint and conducted an independent investigation based on his experience and knowledge to

uncover and report the fraud alleged herein.

       19.     Accordingly, Mr. Smith is the “original source” of the non-public information

alleged in this Second Amended Complaint within the meaning of 31 U.S.C. § 3730(e)(4)(A)–(B).

       20.     Prior to the filing of this Second Amended Complaint, Relator provided the

government with written disclosure of substantially all material evidence and information that

Relator possessed, in accordance with 31 U.S.C. § 3730(b)(2).

       B.      DEFENDANTS

               1.    Athena Construction Group, Inc.

       21.      Defendant Athena Construction Group, Inc. (“Athena,” formerly known as Athena

Remodelers, Inc.) is a Virginia corporation with its principal place of business at 17877 Old

Triangle Road, Triangle, Virginia 22172.

       22.     Defendant Athena is owned and operated by Amber Peebles (President) and

Melissa Schneider (Vice-President). Ms. Peebles and Ms. Schneider are adult citizens of the

Commonwealth of Virginia and reside at 3201 Riverview Drive, Triangle, Virginia 22172.

               2.      Clark/Balfour Beatty - NCE, A Joint Venture

       23.     Defendant Clark/Balfour Beatty JV is a joint venture in which Clark and Balfour

Beatty are the joint venturers. Clark/Balfour Beatty JV is a Maryland corporation with its principal

place of business at 7500 Old Georgetown Road, Bethesda, Maryland 20814. Clark/Balfour

Beatty JV is in the business of construction as a general contractor.




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               3.    Clark Construction Group, LLC

       24.     Defendant Clark Construction Group, LLC (“Clark Construction”) is a Maryland

limited liability company with its principal place of business at 7500 Old Georgetown Road,

Bethesda, Maryland 20814.           As the flagship subsidiary of Clark Enterprises, Inc., Clark

Construction is one of the largest private general contractors in the country, providing construction

management, design/build, and consulting services.         Clark Construction maintains regional

headquarters throughout the United States.

               4.    Balfour Beatty Construction Company, Inc.

       25.     Defendant Balfour Beatty Construction Company, Inc. (“Balfour Beatty”) is a

Texas corporation with its principal place of business at 3100 McKinnon Street, Floor 10, Dallas,

Texas 75201. Balfour Beatty is the U.S. subsidiary of Balfour Beatty PLC, a U.K. multinational

infrastructure group with capabilities in construction services, support services and infrastructure

investments. According to its website, Balfour Beatty is an industry-leading provider of general

contracting, at-risk construction management and design-build services for public and private

sector clients across the nation.

               5.    Hensel Phelps Construction Company

       26.     Defendant Hensel Phelps Construction Company (“Hensel Phelps”) is a Colorado

corporation with its principal place of business at 420 6th Avenue, Greeley, Colorado 80631.

Hensel Phelps is one of the largest general contractors and construction managers in the United

States, ranking consistently among Engineering News Record’s top 20 Contractors. Founded in

1937 as a small, local builder in Greeley, Colorado, Hensel Phelps has grown into a multibillion-

dollar national contractor.




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               6.    Barton Malow Company

       27.     Defendant Barton Malow Company (“Barton Malow”) is a Michigan corporation

and is headquartered at 26500 American Drive, Southfield, Michigan 48034. With more than

2,000 employees and sixteen offices, Barton Malow serves the North America market in specialties

that include commercial, industrial, education, energy, healthcare, manufacturing, sports, and

entertainment facilities.

               7.    CDM Smith/Coakley Williams JV

       28.     Defendant CDM Smith/Coakley Williams JV (“CDMS/CW”) is a joint venture in

which CDM Smith Inc. and Coakley & Williams Construction Inc. are the joint venturers.

CDMS/CW is a corporation with its principal place of business at 16 S. Summit Avenue,

Gaithersburg, Maryland 20877. CDMS/CW is in the business of construction as a general

contractor.

               8.    CDM Smith, Inc.

       29.     Defendant CDM Smith, Inc. (“CDM Smith”) is a Massachusetts corporation with

its principal office at 75 State Street, Boston, Massachusetts. CDM Smith is an engineering and

construction company which provides solutions in water, environmental, transportation, energy,

and facilities projects for public and private clients. The company has approximately 5000

employees and was ranked 22nd on the 2015 Top 500 Design Firms list and 13th on the 2015 Top

200 Environmental Firms list.

               9.    Coakley & Williams Construction, Inc.

       30.     Defendant Coakley & Williams Construction, Inc. (“Coakley & Williams”) is a

Maryland corporation, with its principal office at 7475 Wisconsin Avenue, Bethesda,

Maryland 20814.      It describes itself as one of the “preeminent contractors in the greater

Washington metropolitan area providing CM-R, Design-Build and General Contracting services.”


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               10.   Turner/Gilbane JV

         31.   Defendant Turner/Gilbane JV (“Turner/Gilbane”) is a joint venture, in which

Turner and Gilbane are the joint venturers. Turner/Gilbane is a Virginia corporation with its

principal place of business at 3865 Wilson Boulevard, Suite 300, Arlington, Virginia 22203-1764.

               11.   Gilbane Building Company

         32.   Defendant Gilbane Building Company (“Gilbane”) is a corporation organized and

existing under the laws of the State of Rhode Island, with its principal place of business located at

7 Jackson Walkway, Providence, Rhode Island 02903. Gilbane is a national construction and

facility management company, which operates as a subsidiary of Gilbane, Inc., a Rhode Island

corporation with its principal place of business at 7 Jackson Walkway, Providence, Rhode Island

02903.

               12.   Turner Construction Company

         33.   Defendant Turner Construction Company (“Turner”) is a general contractor in the

construction industry organized and existing under the laws of the State of New York, with its

principal place of business located at 375 Hudson Street, 6th Floor, New York, New York 10014.

Turner is one of the largest construction management companies in the United States of America,

with a construction volume of $10 billion in 2014.            It is a subsidiary of the German

company Hochtief, a German construction company based in Essen, North Rhine-Westphalia,

Germany.

               13.   Component Assembly Systems, Inc.

         34.   Defendant Component Assembly Systems (“CAS”) is a New York corporation with

its principal place of business at 620 Fifth Avenue, Pelham, New York 10803. CAS is one of the

premier drywall and acoustical specialty contractors in the United States. The firm has offices in




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metropolitan New York, Boston, Central New Jersey, Washington, Philadelphia, Las Vegas and

Southern California.

                14.    Commonwealth Wall Systems LLC

        35.     Defendant Commonwealth Wall Systems LLC (“Commonwealth”) is a Delaware

corporation with its principal place of business at 2711 Centerville Road, Wilmington, Delaware

19808. A subsidiary of CAS, Commonwealth’s line of business includes lightweight steel framing

(metal stud) installation.

                15.    John Does Nos. 1-50, Fictitious Names

        36.     John Does Nos. 1-50, Fictitious Names, are individuals, corporations, limited

liability companies, partnerships, trusts, or other lawful business entities through which

Defendants do business, and who are unknown co-conspirators who conspired with Defendants to

perpetuate the scheme alleged herein.

        37.     To the extent that any of the conduct or activities described in this Second Amended

Complaint was not performed by Defendants, but by the individuals or entities alleged herein as

John Does Nos. 1-50, Fictitious Names, any reference herein to “the Defendants” or “Defendants”

under such circumstances, and only under such circumstances, refers also to John Does Nos. 1-50,

Fictitious Names, and/or other co-conspirators who conspired with Defendants to perpetrate the

scheme alleged herein.

        38.     As a result of Defendants’ actions, the United States has suffered financial harm.

        39.     Defendants’ conduct is ongoing.

IV.     GENERAL BACKGROUND

        40.     The government is the world’s largest buyer of services and goods. Purchases by

military and civilian agencies amount to nearly $600 billion a year and include everything from

complex space vehicles to the paving of parking lots.


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       41.     Recognizing that small businesses are the engine of economic growth in the United

States, the government has adopted a policy of requiring its agencies to award prime and

subcontracting opportunities to small and disadvantaged businesses.

       42.     Accordingly, the government has enacted a government-wide prime contracting

goal that at least 23% of all federal government contracting dollars should be awarded to small

and disadvantaged businesses.

       43.     The government has also set targeted sub-goals for WOSBs (5%), small

disadvantaged businesses (5%), firms located in HUBZones (3%), and SDVOSBs (3%).

       44.     It is the responsibility and mission of the Small Businesses Administration (“SBA”)

to help federal agencies ensure that the above goals are met and that small businesses get their fair

share of federal contracting dollars.

       A.      FEDERAL CONTRACTING PROCESS FOR CONSTRUCTION PROJECTS

       45.     The government generally obtains contracts for large construction projects through

a competitive negotiation process that involves two phases.         The process begins when the

contracting officer issues a solicitation that delineates the scope of work and states the

government’s requirements, including, but not limited to, design criteria, budget parameters, and

schedule. See FAR § 36.302.3.

       46.     In Phase I, the solicitation typically covers the technical aspects of the project. See

id. § 36.303-1. General contractors submit proposals for the project. The government evaluates

each offeror’s technical competencies and other non-price/cost-related factors against stated

evaluation criteria. The government then selects the most highly qualified offerors, which

generally does not exceed a maximum number specified in the solicitation and, in any case, does

not exceed five offerors. See id.




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       47.     In Phase II, the selected offerors submit proposals that expound upon the technical

aspects and include cost proposal data. See FAR §§ 15.304; 36.303-2. If the amount of the contract

is expected to exceed $1.5 million, the offeror’s Phase II proposal must include a Subcontracting

Plan detailing the extent of participation of small business concerns, which constitutes the

“socioeconomic evaluation factor” of the offeror’s proposal. See id. §§ 15.304(c)(4); 19.702.

Subcontracting Plans require large businesses to state the amount of planned subcontracting dollars

that will go to specified categories of small businesses.

       48.     In awarding these large construction contracts, the government does not seek the

lowest possible bidder to perform the work. Instead, the government seeks the contractor that can

best deliver the full continuum of final product, consistent with all goals, laws, rules, and

regulations applicable to the product, which include certain requirements for the participation of

Small and/or Disadvantaged Business Enterprises through the requisite Small Business

Subcontracting Plan. See FAR § 15.101. As established in various federal statutes and regulations,

these include business concerns that are a Small Business (“SB”), WOSB, Veteran Owned Small

Business (“VOSB”), SDVOSB, qualified HUBZone small business, and a small business owned

and controlled by socially and economically disadvantaged individuals (“DBE”).

       B.      FEDERAL SMALL BUSINESS SUBCONTRACTING

       49.     The Small Business Act encourages prime contractors to award subcontracts to

small companies, including those with various special socioeconomic designations recognized by

the SBA, so that they will have the “maximum practicable opportunity to participate in the

performance” of Federal contracts. Section 2 of the Small Business Act states:

       The essence of the American economic system of private enterprise is free
       competition. Only through full and free competition can free markets, free entry
       into business, and opportunities for the expression and growth of personal initiative
       and individual judgment be assured. The preservation and expansion of such
       competition is basic not only to the economic well-being but to the security of this


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       Nation. Such security and well-being cannot be realized unless the actual and
       potential capacity of small business is encouraged and developed. It is the declared
       policy of the Congress that the government should aid, counsel, assist, and protect,
       insofar as is possible, the interests of small-business concerns in order to preserve
       free competitive enterprise, to insure that a fair proportion of the total purchases
       and contracts or subcontracts for property and services for the government
       (including but not limited to contracts or subcontracts for maintenance, repair, and
       construction) be placed with small-business enterprises, to insure that a fair
       proportion of the total sales of government property be made to such enterprises,
       and to maintain and strengthen the overall economy of the Nation.

15 U.S.C. § 631(a).

       50.     The Small Business Act provides that in order to be considered a small business,

an entity must be independently owned and operated and not dominant in its field. Id. § 632(a)(1).

       51.     Section 632 also authorizes the SBA to promulgate more specific standards by

which a business may be deemed a small business concern. Pursuant to that authority, the SBA

has issued specific size standards that determine whether a business qualifies as a small business

concern.

       52.     A Small Business “size standard” is numerical and represents the largest a concern

can be and still be considered a small business. See 13 C.F.R. §§ 121.101–102. Depending on the

industry, size standard eligibility is based on the average number of employees for the preceding

twelve months or on average annual receipts. Receipts are averaged over a concern’s latest three

completed fiscal years to determine its average annual receipts. For concerns that have been in

business for less than three fiscal years, the average annual receipts are the total receipts for the

period the concern has been in business divided by the number of weeks in business, multiplied

by 52. See id. § 121.104(c).

       53.     The SBA size standard limitation to qualify as a “Small Business Concern” for

businesses in the Specialty Trade Contractors, Masonry Contractors subsector, is $14 million in

average annual receipts. See U.S. Small Bus. Admin., Table of Small Business Size Standards



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Matched to North American Industry Classification System Codes 6 (Feb. 26, 2016), available at

http://www.sba.gov/sites/default/files/files/Size_Standards_Table.pdf (last visited July 31, 2018);

see also 13 C.F.R. § 121.201.

       54.     In determining whether an entity qualifies as a small business concern, the SBA

counts the receipts of all of the entity’s domestic and foreign affiliates, regardless of whether those

affiliates are organized for profit. See 13 C.F.R. § 121.103(a)(6).

               1.    Qualifications for Historically Underutilized Business Zone
                      (“HUBZone”) Status

       55.     The Small Business Reauthorization Act of 1997 created the HUBZone program,

whereby a subcontract set aside for a HUBZone small business can be awarded only to a contractor

who qualifies as a HUBZone contractor. 13 C.F.R. § 126.200.

       56.     Congress enacted the HUBZone program to encourage small businesses to locate

in areas of the country that traditionally experienced difficulty in attracting business.

       57.     The goal of the program is to spur investment and job growth in areas where both

were lacking. As Congress explained, the HUBZone program “targets special Federal government

help to inner cities and rural counties that have low household incomes, high unemployment, and

whose communities have suffered from a lack of investment.” S. Rep. No. 105-62, at 25 (1997),

reprinted in 1997 U.S.C.C.A.N. 3076, 3098.

       58.     Creating incentives for small businesses to locate in targeted communities is the

fundamental goal of the HUBZone program. “[W]ithout businesses in these communities, we don’t

create jobs, and without sources of new jobs, we are unlikely to have a successful revitalization

effort.” Id. at 26, 1997 U.S.C.C.A.N. at 3099.

       59.     Toward that end, the HUBZone program gives preferences in government

contracting to businesses that qualify as a HUBZone small business concern. 15 U.S.C. § 657a.



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Among other options, agencies can designate a contract as a HUBZone set-aside, which restricts

competition for the contract to only those companies that are HUBZone certified. Id. §

657a(b)(2)(B).

       60.       The SBA has the authority to certify a company as a qualified HUBZone firm. 13

C.F.R. § 126.300. To qualify as a HUBZone small business concern, the applicant must meet four

eligibility requirements:

       o     The business must be owned and controlled by a U.S. citizen.
       o     The business must be small within its industry.
       o     The business’s principal office must be located in a HUBZone.
       o     At least 35% of the business’s employees must reside in a HUBZone.

Id. § 126.200(b)(1)(i)-(b)(4).

       61.       To be included in the 35% residency requirement, an employee must reside in a

primary residence located in a HUBZone for at least 180 days, or as a currently registered voter,

and with intent to live there indefinitely. See 13 C.F.R. §§ 126.200(b)(4), 126.103.

       62.       The SBA relies on the information in the applicant’s online submission before

designating a company as HUBZone certified.

       63.       Among the application materials is a HUBZone Program Certification

(“Certification”) form, which contains certification statements regarding an applicant’s

qualifications as a HUBZone small business concern.         U.S. Small Bus. Admin., HUBZone

Program Certification for Applicants Owned by U.S. Citizens, ANCs or CDCs (“Certification”),

https://www.tinyurl.com/yaz8e8je (last visited Oct. 19, 2018).

       64.       The definitions for the terms used in the Certification and throughout the

application are set forth in the Small Business Act, SBA regulations (13 C.F.R. Part 126), and any

statutory and regulatory provision referenced in those authorities.




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        65.        The Certification further states: “The undersigned has reviewed, verified and

certifies that”:

        o The applicant’s principal office is located in a HUBZone.

        o All the statements and information provided in the applicant’s online application, this
          form and any attachments are true, accurate and complete. If assistance was obtained
          in completing this form and the supporting documentation, I have personally reviewed
          the information and it is true and accurate. I understand that these statements are made
          for the purpose of determining eligibility and continuing eligibility in the HUBZone
          Program. In addition, the applicant will immediately notify the SBA of any material
          change which could affect the applicant’s HUBZone eligibility.

        o The certifications in this document are continuing in nature. Each HUBZone prime
          contract or subcontract for which the applicant submits an offer/quote or receives an
          award while a HUBZone constitutes a restatement and reaffirmation of these
          certifications.

U.S. Small Bus. Admin., Certification, supra.

        66.        Further, the Certification contains the following warning:

         Warning: By signing this certification you are representing on your own behalf,
         and on behalf of the applicant, that the information provided in this certification,
         the application and any document or supplemental information submitted in
         connection with this application, is true and correct as of the date set forth opposite
         your signature. Any intentional or negligent misrepresentation of the information
         contain in this certification may result in ... civil ... sanctions including, but not
         limited to ... treble damages and civil penalties under the False Claims Act ....”

Id.

        67.        Even after the SBA certifies a business as a HUBZone small business, the SBA

places certain limitations on a contractor’s ability to subcontract any portion of a HUBZone set-

aside contract if the amount exceeds $150,000.

        68.        For example, for general construction contracts, the HUBZone small business

prime contractor must perform at least 15% of the work, not including the cost of the materials,

with its own employees. For construction by specialty trade contractors, the HUBZone small




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business prime contractor must perform at least 25% of the work, not including the cost of the

materials, with its own employees.

       69.     Violations of the applicable subcontracting limitation may result in a variety of

significant penalties, including suspension, debarment, administrative remedies, fines and even

imprisonment. If a fine is imposed for a violation, the fine will be greater of either $500,000 or

the dollar amount spent in excess of the permitted levels for subcontracting.

               2.     Service-Disabled Veteran-Owned Business Concern Procurement
                      Program and Women Owned Small Business Program

       70.     The Veterans Entrepreneurship and Small Business Development Act of 1999

established an annual government-wide goal of not less than 3% of the total value of all prime

contract and subcontract awards for participation by small business concerns owned and controlled

by service-disabled veterans.

       71.     On December 16, 2003, Congress passed the Veterans Benefits Act of 2003.

Section 308 of the Act established a procurement program for SDVOSBs.

       72.     The purpose of the SDVOSB program is to provide procuring agencies with the

authority to set acquisitions aside for exclusive competition among service-disabled veteran-

owned small business concerns, as well as the authority to make sole source awards to service-

disabled veteran-owned small business concerns if certain conditions are met.

       73.     Similarly, 5% of the total value of all prime contracts and 5% of all subcontracts

are to be awarded to WOSBs.

       74.     The SBA has placed limitations on a contractor’s ability to subcontract any portion

of a SDVOSB or WOSB set-aside contract if the amount exceeds $150,000.

       75.     For example, for general construction contracts, the small business prime

contractor, like Athena, must perform at least 15% of the work, not including the cost of the



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materials, with its own employees. For construction by special trade contractors, like Athena, the

small business prime contractor must perform at least 25% of the work, not including the cost of

the materials, with its own employees.

       76.     Violations of the applicable subcontracting limitation may result in a variety of

significant penalties, including suspension, debarment, administrative remedies, fines and even

imprisonment. If a fine is imposed for a violation, the fine will be greater of either $500,000 or

the dollar amount spent in excess of the permitted levels for subcontracting.

               3.   Certification Requirements

       77.     Contractors must complete annual electronic representations and self-certifications

in the System for Award Management (“SAM”) database—a Government-owned and operated

website used by businesses who register to do business with the government.

       78.     Contractors are required to update the representations and certifications submitted

to SAM as necessary, but at least annually, to ensure that they are kept current, accurate, and

complete.

       79.     The representations and self-certifications are effective for one year from the date

of submission or update to SAM. Pursuant to FAR § 52.212-3, contractors represent whether they

meet the status requirements for various small business categories.

       80.     For the purposes of federal procurement programs for which status as a small

business is required, a concern must not exceed the size standard under the applicable North

American Industry Classification System (“NAICS”) code specified in the solicitation, whether

the threshold is based upon number of employees or annual revenues. 13 C.F.R. §§ 121.401–

121.413.

       81.     Each NAICS industry code has a corresponding size standard, and the table is

published annually in the Federal Register. Id. § 121.101.


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       82.     Both submissions of bids set aside for small businesses and registrations in the

SAM.gov database for the purpose of being considered for an award as a small business concern

are deemed “affirmative, willful and intentional certifications of small business size and status.”

15 U.S.C. § 632(w)(2).

       83.     Each time a business enters into a set-aside contract with the government and each

time it files its annual SAM.gov certification, it becomes subject to a stiff sanctions regime

intended to deter small business fraud.

       84.     In addition to other laws that may be applicable, section 16(d) of the Small Business

Act provides severe criminal penalties for knowingly misrepresenting the small business size

status of a concern in connection with procurement programs. 15 U.S.C. § 645(d).

       85.     Section 16(a) of the Act also provides, in part, for criminal penalties for knowingly

making false statements or misrepresentations to SBA for influencing in any way the actions of

the Agency. 15 U.S.C. § 645(a); see also 13 C.F.R. § 121.108.

       86.     These and other penalties are set forth in the certifications made by each business

concern bidding under a small business set-aside: “any person who misrepresents a firm’s status

as a business concern that is small . . . in order to obtain a contract to be awarded under the

preference programs established pursuant to section 8, 9, or 15, 31, and 36 of the Small Business

Act shall (i) Be punished by imposition of fine, imprisonment, or both; (ii) Be subject to

administrative remedies, including suspension and debarment; and (iii) Be ineligible for

participation in programs conducted under the authority of the Act.” 15 U.S.C. § 645(d).

               4.   Affiliation Principles for Small Businesses

       87.     The affiliation concept is important to government contractors because it can have

a significant impact on whether a business is deemed large or small. Small businesses are eligible

to participate in numerous beneficial government programs. The SBA determines the size of a


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business by examining a company’s average annual revenue or number of employees. When two

companies are affiliated, the SBA combines the revenue or number of employees of both

companies. Thus, each company is less likely to fall below the SBA’s applicable limit and is less

likely to be eligible for preferred contracting status.

        88.     “Affiliation” exists between businesses when one business, directly or indirectly,

controls or has the power to control another business, or when a third party, directly or indirectly,

controls or has the power to control both businesses. See 13 C.F.R. § 121.103(a); FAR § 19.101;

U.S. Small Bus. Admin., A Handbook for Small Business Liaison Officers (“SBLO Handbook”)

16      (June      2010),      available      at        https://www.sba.gov/sites/default/files/articles/

Small_Business_Liaison_Officer_(SBLO)_Handbook_6_2010.pdf. Control may arise through

ownership, management, or other relationships or interactions between the parties. See 13 C.F.R.

§ 121.103(a). If one or more officers, directors, managing members, or general partners of a

business control the Board of Directors and/or the management of another business, the businesses

are affiliates. See id. § 121.103(e).

        89.     The ostensible subcontractor rule prohibits a prime contractor, such as Athena, from

being unusually reliant upon its subcontractor, or a subcontractor to perform primary or vital

responsibilities of the contract. Id. § 121.104(h)(4). The rule is intended to prevent other than

small firms from forming relationships with small firms to evade SBA’s size requirements.

        90.     In determining a violation of this rule, the SBA considers all aspects of the

relationship, including the terms of the proposal, SBA limitations on subcontracting, project

management, division of work, the percentage of the prime contract work the subcontractor will

perform, relative experience and profit sharing. Id.




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       C.      POST-AWARD SUBCONTRACTING PLANS

       91.     As articulated in then-Senator Mary Landrieu’s September 29, 2010 Committee

report on the Small Business Contracting Revitalization Act of 2010, prime contractors are

awarded lucrative construction projects based, in large part, on promises made to meet or exceed

small business goals, and serious changes were required to hold them accountable:

       To prevent prime contractors from taking advantage of small business
       subcontractors through bait-and-switch fraud, the bill requires large prime
       contractors to certify that they will use small business subcontractors in the amount
       and quality used in preparing their winning bid or proposal, unless such firms no
       longer are in business or can no longer meet the quality, quantity or delivery date.
       The Committee expects that Federal agencies will use all appropriate legal and
       contractual remedies to deter, punish, and recover the proceeds of such fraud.

S. Rep. No. 111-343, at 7 (2010).

       92.     The Small Business Act reflects a policy “that small business concerns, small

business concerns owned and controlled by veterans, small business concerns owned and

controlled by service-disabled veterans, qualified HUBZone small business concerns, small

business concerns owned and controlled by socially and economically disadvantaged individuals,

and small business concerns owned and controlled by women, shall have the maximum practicable

opportunity to participate in the performance of contracts let by any Federal agency, including

contracts and subcontracts for subsystems, assemblies, components, and related services for major

systems.” 15 U.S.C. § 637(d)(1).

       93.     The Small Business Act also requires that the language quoted in paragraph 92 be

inserted into every federal prime contract (other than certain specified contracts not relevant here),

and further requires that every Federal prime contract include a clause stating that “[t]he contractor

hereby agrees to carry out this policy in the awarding of subcontracts to the fullest extent consistent

with the efficient performance of this contract.” Id. § 637(d)(3).




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       94.     The Small Business Act further emphasizes the importance of ensuring that small

and other disadvantaged contractors participate in the performance of subcontracts by requiring

prime contractors to submit subcontracting plans to the procuring agencies showing “percentage

goals for the utilization” of these companies in performing the contract. Id. § 637(d)(4), (d)(6).

       95.     The Small Business Act provides: “The Subcontracting Plan shall be included in

and made a material part of the contract.” Id. § 637(d)(4)(B)(iv). Further, the Subcontracting

Plan must contain assurances that each offeror or bidder will submit “periodic reports … in order

to determine the extent of compliance by the offeror or bidder with the subcontracting plan.” Id.

§ 637(d)(6)(E).

       96.     The Small Business Act further states:

       No contract shall be awarded to any offeror unless the procurement authority
       determines that the plan to be negotiated by the offeror pursuant to this paragraph
       provides the maximum practicable opportunity for small business concerns,
       qualified HUBZone small business concerns, small business concerns owned and
       controlled by veterans, small business concerns owned and controlled by service-
       disabled veterans, small business concerns owned and controlled by socially and
       economically disadvantaged individuals, and small business concerns owned and
       controlled by women to participate in the performance of the contract.

Id. § 637(d)(4)(D).

       97.     Accordingly, the Small Business Act makes a prime contractor’s representation that

it is in compliance with its small business Subcontracting Plan, and will remain in compliance with

the Plan, a material condition of the award and continuing performance. Id. § 637(d)(4)(B), (D).

       98.     The Small Business Act further provides that a prime contractor or subcontractor’s

failure to comply in good faith with a Subcontracting Plan and the policy encouraging the greatest

possible participation of disadvantaged small businesses including HUBZones, constitutes a

“material breach” of the contract or subcontract. Id. § 637(d)(9).




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       99.      The Small Business Act also states that any small business concern that

misrepresents its small business status shall be subject to penalties under the FCA. Id. §

637(m)(5)(C).

                1.   Duty to Comply in Good Faith with a Subcontracting Plan

       100.     Each successful prime contractor with a Subcontracting Plan is required to make “a

good faith effort to achieve the dollar and percentage goals and other elements in its Subcontracting

Plan.” 13 C.F.R. § 125.3.

       101.     A contractor which fails to comply in good faith with its Subcontracting Plan,

including the goals stated therein, or with FAR § 52.219-8 (“Utilization of Small Business

Concerns”) is in material breach of its contract. See 15 U.S.C. § 637(d)(8); FAR § 19.702(c).

       102.     This good faith obligation is expressly incorporated into all construction contracts

requiring a Subcontracting Plan. See FAR § 52.219-9, 52.219-9(k) (“As prescribed in 19.708(b),

insert the following clause: … The failure of the Contractor or subcontractor to comply in good

faith with— (1) The clause of this contract entitled ‘Utilization of Small Business Concerns;’ or

(2) An approved plan required by this clause, shall be a material breach of the contract.”).

       103.     Section 19.705-7(a) of the FAR provides: “Maximum practicable utilization of

small business, veteran-owned small business, service-disabled veteran owned small business,

HUBZone small business, small disadvantaged business and women-owned small business

concerns as subcontractors in government contracts is a matter of national interest with both social

and economic benefits. When a contractor fails to make a good faith effort to comply with a

Subcontracting Plan, these objectives are not achieved, and 15 U.S.C. § 637(d)(4)(F) directs that

liquidated damages shall be paid by the contractor.”




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       104.    “Failure to make a good faith effort to comply with the Subcontracting Plan means

willful or intentional failure to perform in accordance with the requirements of the Subcontracting

Plan, or willful or intentional action to frustrate the plan.” FAR § 19.701.

       105.    The liquidated damages provision provides a specific, agreed-upon measure for

determining the damage to the government when a contractor fails to comply in good faith with

its Subcontracting Plan. Specifically, “[t]he amount of damages attributable to the contractor’s

failure to comply shall be an amount equal to the actual dollar amount by which the contractor

failed to achieve each subcontracting goal.” Id. § 19.705-7(b).

       106.    The liquidated damages provision, including the measure of damages stated therein,

is required to be incorporated into solicitations and contracts with the government. See id. §§

19.708(b) & 52.219-16. Further, “[l]iquidated damages shall be in addition to any other remedies

that the government may have.” Id. § 19.705-7(g).

       107.    Thus, pursuant to the above-referenced statutes and regulations, “[a]n other-than-

small contractor that fails to make a good faith effort to achieve the goals in its Subcontracting

Plan may be found in material breach of contract and terminated for default, or liquidated damages

may be imposed.” U.S. Small Bus. Admin., SBLO Handbook, supra, at 30.

       108.    The use of a pass-through arrangement—whereby a prime contractor subcontracts

with a small business entity which then subcontracts all of the work under the contract to a large

business—is not good faith compliance with a Subcontracting Plan.

       109.    As stated by the SBA: “[A] pass-through . . . adds little or no value to the

procurement. It does not comport with the spirit or intent of the subcontracting program.” Id. at

77.




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                2.   Duty to Submit Truthful Reports

       110.     Throughout the lifetime of the contract, contractors must “[s]ubmit periodic reports

so that the government can determine the extent of compliance by the offeror with the

subcontracting plan.” FAR § 19.704(a)(10)(ii). A prime contractor is responsible for submitting

“timely, accurate, and complete” reports. 13 C.F.R. § 125.3. For example, prime contractors must

electronically submit the Individual Subcontracting Report (“ISR”) and Summary Subcontracting

Report (“SSR”). See FAR §§ 19.704(a)(10)(iv)(A)-(B), 52.219-9(l)(1)-(2).

       111.     The ISR “collects prime contractor and subcontractor subcontract award data” and

is required to be submitted by the prime contractor twice a year (by April 30 and October 30 of

each year). General Servs. Admin., Electronic Subcontracting Reporting System (eSRS) Quick

Reference Recommendation for Federal Government Contractors: Submitting an Individual

Subcontracting       Report      (ISR)      2-3          (Sept.   29,   2015),     available      at

https://www.esrs.gov/documents/eSRS_Quick_Reference_for_Subcontractors_filing_an_ISR_R

eport.pdf.    In the ISR, the prime contractor must provide data showing its small business

subcontracting goals compared to its actual performance. See id. at 13-20.

       112.     If the prime contractor fails to meet the goals in its Subcontracting Plan, the

contractor must “explain the reason for any shortfalls” in the “Remarks” section of the ISR. Id. at

20. When submitting the ISR, the contractor must certify that “the data being submitted on the

report is accurate and that the dollars and percentages reported do not include lower tier

subcontracts” or the report will be rejected. Id.

                3.     Certifications Made in Progress Payment Requests Include
                       Certification of Good Faith Compliance with the Subcontracting Plan

       113.     In a fixed-price construction contract, the government makes progress payments to

the contractor on a monthly basis as the work proceeds. See FAR § 52.232-5(b). Each time a



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contractor makes a request for progress payments, the contractor must make “the following

certification, or payment shall not be made: “I hereby certify, to the best of my knowledge and

belief, that . . . [t]he amounts requested are only for performance in accordance with the

specifications, terms, and conditions of the contract.” Id. § 52.232-5(c). This certification

provision is required to be included in the contract. See id.

       114.    By making such a certification, the contractor attests that the amount of money

requested is only for performance in accordance with the material contractual obligation to comply

in good faith with its Subcontracting Plan and the goals therein.

       115.    If the agency discovers that a “contractor’s request for … progress payments under

a contract awarded by that agency is based on fraud,” the agency head may “reduce or suspend

further payments to the contractor.” FAR § 32.6-4. “Such reduction or suspension shall be

reasonably commensurate with the anticipated loss to the government resulting from the fraud.”

Id. The “[a]uthority to reduce or suspend payments … is in addition to other government rights,

remedies, and procedures.” Id. § 32.6-1.

       116.    Additionally, a contractor must timely disclose to the agency when the contractor’s

principal, employee, agent, or subcontractor has committed a violation of the FCA. See FAR §

52.203-13.

       D.      FIRST-TIER SUBCONTRACTORS WHO DO NOT ADD VALUE TO THE PRIME
               CONTRACT ARE ILLEGAL PASS THROUGH ENTITIES

       117.    The Small Business Revitalization Act of 2010 sought to “prevent prime

contractors from taking advantage of small business subcontractors through bait-and-switch

fraud.” Accordingly, “the bill requires large prime contractors to certify that they will use small

business subcontractors in the amount and quality used in preparing their winning bid or proposal




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…. The Committee expects that Federal agencies will use all appropriate legal and contractual

remedies to deter, punish, and recover the proceeds of such fraud.”

       118.    According to FAR 52.236-1, “Performance of Work by Contractor”, a first-tier

subcontractor, like Athena, is to self-perform at least 15% of the work on the subcontract. This

self-perform figure is increased to 25% for specialty trade subcontractors, which Athena was

subject to under the various specialty trade subcontracts it received from Co-Defendants.

       119.    According to the SBA, it is impermissible for a firm with various federal small

business certifications—e.g., HUBZone, WOSB, etc.—to seek and obtain subcontracts that the

firm would in turn hand over to another company for performance. U.S. Small Bus. Admin., SBLO

Handbook, supra, at 77. According to the SBA, “[t]his arrangement is merely a pass-through

which adds little or no value to the procurement. It does not comport with the spirit or intent of

the subcontracting program.” Id. (Emphasis added).

       E.      THE “PRESUMED LOSS RULE” UNDER THE SMALL BUSINESS ACT OF 2010

       120.    The Small Business Act of 2010 codified the calculation of damages for

misrepresentation under the FCA, which significantly increases the ante for prosecutions both by

the government and qui tam relators.

       121.    Section 1341 of the Jobs Act, also called the “Presumed Loss Rule,” provides a

presumption of loss to the government equal to the total amount expended on the contract. 15

U.S.C. § 632(w)(1). The offender may not discount the measure of damages by crediting the value

of services or goods provided to the government under the contract. Id.

       122.    Through this Act, Congress established that the government’s damages calculation

shall use an intended beneficiary analysis. That is, where the government intended the contract to

benefit an eligible small business, and an ineligible business received the benefit of that contract,

the entire amount paid to the ineligible contractor becomes the loss to the government.


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       123.     This codification is significant because contractors are liable for three times the

total amount of money received under the contract, plus penalties and fees. 31 U.S.C. § 3729.

       124.     The new law also changes the certification process for small businesses. As part of

a bid or proposal, small businesses have historically needed to self-certify that they are an eligible

small business. Under the Small Business Act, businesses must both initially register as a small

business and annually update their status in the SAM database. These self-certifications are based

on the honor system enforced by significant legal exposure if not accurate.

       125.     The Small Business Act also includes a Deemed Certification provision. Under

this provision, a proposal or bid for a federal contract or subcontract “intended for award to small

business concerns” constitutes an “affirmative, willful, and intentional certification[] of small

business size and status.” 15 U.S.C. § 632(w)(2)(A)-(B). A contractor also makes such a

certification by registering as a small business concern “on any Federal electronic database for the

purpose of being considered for award of a Federal … contract [or] subcontract.”                Id. §

632(w)(2)(C).

       F.       THE FALSE CLAIMS ACT

       126.     Originally enacted in the 1860s to combat fraud against the Union Army during the

Civil War, the FCA, 31 U.S.C. §§ 3729-3733, is the primary tool with which the United States

combats fraud against the government and protects the federal Treasury. The Supreme Court has

held that the FCA’s provisions must be construed broadly to reach “all types of fraud, without

qualification, that might result in financial loss to the government.” United States v. Neifert-White,

390 U.S. 228, 232 (1968).

       127.     The FCA provides that a person is liable to the United States for each instance in

which the person “knowingly presents, or causes to be presented, to an officer or employee of the




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United States government … a false or fraudulent claim for payment or approval.” 31 U.S.C.

§ 3729(a)(1)(A).

       128.    The FCA establishes liability for any person who “knowingly makes, uses, or

causes to be made or used, a false record or statement to get a false or fraudulent claim paid or

approved by the government.” Id. § 3729(a)(2). The FCA further establishes liability for any

person who “knowingly makes, uses, or causes to be made or used, a false record or statement

material to a false or fraudulent claim.” Id. § 3729(a)(1)(B).

       129.    The FCA defines “knowingly” to mean that a person, with respect to information,

“(1) has actual knowledge of the information; (2) acts in deliberate ignorance of the truth or falsity

of the information; or (3) acts in reckless disregard of the truth or falsity of the information,” and

further provides that no proof of specific intent to defraud is required. Id. § 3729(b).

       130.    The FCA defines the term “claim” to mean, in relevant part: “any request or

demand, whether under a contract or otherwise, for money or property and whether or not the

United States has title to the money or property, that – (i) is presented to an officer, employee, or

agent of the United States; or, (ii) is made to a contractor, grantee, or other recipient, if the money

or property is to be spent or used on the government’s behalf or to advance a government program

or interest, and if the United States government—(I) provides or has provided any portion of the

money or property requested or demanded; or (II) will reimburse such contractor, grantee, or other

recipient for any portion of the money or property which is requested or demanded.” Id.

§ 3729(b)(2)(A).

       131.    Any person who violates the FCA is liable to the United States for a civil penalty

of not less than ten thousand nine hundred fifty-seven dollars ($10,957) and not more than twenty-

one thousand nine hundred sixteen dollars ($21,916), plus three times the amount of damages




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which the government sustains because of the act of that person. Id. § 3729(a); 15 C.F.R.

§ 63(a)(3).

       G.        THE ANTI-KICKBACK ACT OF 1986

       132.      The Anti-Kickback Act (“AKA”), 41 U.S.C. §§ 8701–8708, modernized and

closed the loopholes of previous statutes applying to government contractors. The AKA applies

to a broad range of persons involved in government subcontracting.

       133.      The AKA prohibits attempted as well as completed “kickbacks,” id. § 8702, which

include any money, fees, commission, credit, gift, gratuity, thing of value, or compensation of any

kind, id. § 8701(2). The Act also prohibits the inclusion of kickback amounts in contract prices is

prohibited conduct in itself. Id. § 8702(3).

       134.      The AKA requires only that the purpose of the kickback was for improperly

obtaining or rewarding favorable treatment in connection with a contract. Id. § 8701(2). It is

intended to embrace the full range of government contracting.

       135.      The AKA prohibits the payment, solicitation and receipt of kickbacks by prime

contractors, prime contractor employees, subcontractors, and subcontractor employees. These

terms are defined in the Act. Id. § 8701(5)-(9).

       136.      The AKA defines “kickbacks” to include payments under any government contract.

Id. § 8701(2).

       137.      The AKA imposes criminal sanctions for knowing and willful violations.

       138.      The AKA requires each contracting agency to include in each prime contract

exceeding $100,000 for other than commercial products or services, a requirement that the prime

contractor shall “have in place and follow reasonable procedures designed to prevent and detect

violations of section 8702 of this title in its own operations and direct business relationships,” and




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“cooperate fully with a Federal Government agency investigating a violation of section 8702 of

this title.” Id. § 8703(a)(1)-(2).

        139.    Section 3.502-2(i)(1) of the FAR interprets the “reasonable procedures” required

by the AKA to include, for example: “company ethics rules prohibiting kickbacks by employees,

agents, or subcontractors; education programs for new employees and subcontractors, explaining

policies about kickbacks, related company procedures and the consequences of detection;

procurement procedures to minimize the opportunity for kickbacks; audit procedures designed to

detect kickbacks; periodic surveys of subcontractors to elicit information about kickbacks;

procedures to report kickbacks to law enforcement officials; annual declarations by employees of

gifts or gratuities received from subcontractors; annual employee declarations that they have

violated no company ethics rules; [and] personnel practices that document unethical or illegal

behavior and make such information available to prospective employers.”

        140.    Both prime contractors and subcontractors, either of government-unique or

commercial items, are required to submit a written report to the government if they have

“reasonable grounds to believe that a violation of [the Act] may have occurred.” 41 U.S.C. §

8703(c)(1).

        141.    Moreover, FAR contract clause § 52.203-7, “Anti-Kickback Procedures,” requires

that essentially all of the prohibitions and requirements applicable to prime contractors must be

flowed-down to subcontractors “in all subcontracts under this contract which exceed $100,000.”

        142.    Each time a large business misrepresents in its self-certifications that it has entered

into a legitimate subcontract with a “small business” in order to win a contract bid, the large

business has won a bid that should have been awarded to a legitimate small business instead. The




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large business that has misrepresented its size has gained an unfair advantage over honest

businesses that have not made such misrepresentations.

       143.    The SBA has identified such firms as “bad actors,” who are “taking intentional and

often fraudulent advantage” of SBA programs. Helping Small Businesses Compete: Challenges

Within Programs Designed to Assist Small Contractors: Hearing Before the Subcomm. On

Contracting & Workforce of the H. Small Bus. Comm. (“Helping Small Businesses”), 112th Cong.

4 (2011) (statement of Joseph G. Jordan, Associate Administrator for Government Contracting

and   Business    Development,     U.S.    Small     Business   Administration),   available    at

https://smallbusiness.house.gov/uploadedfiles/jordan_testimony.pdf.

       144.    The SBA “has no tolerance for a firm found to be acting fraudulently,” adding that,

where appropriate, the agency “will act decisively to oust them from our programs and from doing

business with the government generally.” Id.

       145.    Further, the SBA is continuing to take action and make referrals to the Department

of Justice “against any firm attempting to ‘game the system’” with SBA programs. Small Business

Contracts: How Oversight Failures and Regulatory Loopholes Allow Large Businesses to Get and

Keep Small Business Contracts: Hearing Before the Ad Hoc Subcomm. On Contracting Oversight

of the S. Comm. On Homeland Security and Gov’tl Affairs, 112th Cong. 2 (2011) (statement of

Joseph G. Jordan, Associate Administrator for Government Contracting and Business

Development,        U.S.      Small       Business        Administration),      available       at

https://www.gpo.gov/fdsys/pkg/CHRG-112shrg68018/pdf/CHRG-112shrg68018.pdf.

       146.    The SBA has stated that it “will come down hard on those who seek to take unfair

advantage of our programs and services to the detriment of the many honest small businesses that

depend upon those programs and services.” Helping Small Businesses, supra, at 5.




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V.           BACKGROUND OF DEFENDANT ATHENA

             147.     Defendant Athena was established in 2003 as a residential remodeling contractor.

Melissa Schneider co-owns Athena with Amber Peebles. Prior to joining Athena in 2008, Peebles

had been a paralegal.

             148.     In approximately 2010, Athena began to seek small business contracts either

directly from the federal government or working with a large contractor under a small business

subcontracting plan. Athena received its SDVOSB certification in 2010 and its HUBZone

certification in 2011.

             149.     The following table lists Athena’s small business contracts:

    Funding Agency    Prime / Sub      Contract Number           Contract Dates      NAICS    Total          Statement of
                      Contractor                                                     Code     Contract       Work
                                                                                              Value
    GSA/Public        Balfour Beatty   GS11P10MKC0059 (Prime     9/23/10 – 3/15/13   237990   $32,486,046    n/a
    Buildings                          Contract)1
    Service
    (see above)       Athena           11076000.TUNNEL.509900    9/12/11             237990   $1,279,888     Concrete &
                                       00.42040 (subcontract)                                                Caulking
    GSA/Public        Balfour Beatty   GS03P10CDC0061 (Prime     11/6/09 – 10/1/15   236220   $46,250,549    n/a
    Buildings                          Contract)2
    Service
    (see above)       Athena
    DoD               Clark/Balfour    N4008008C0007 (Prime      3/3/08 – 12/31/20   236220   $753,732,157   n/a
                      Beatty JV        Contract)3
    (see above)       Athena
    DoD (US Army      Clark            W912DR11C0026 (Prime      7/22/11 – 4/14/14   236220   $44,0105,000
    Corps of                           Contract)4
    Engineers)
    (see above)       Athena
    Social Security   Hensel Phelps    GS03P12CD0002 (Prime      1/13/12 – 10/1/15   236220   $209,025,585   n/a
    Administration                     Contract)5
    (see above)       Athena           2012076.0920100 CO #9     11/1/13             236220   $44,171        Misc. Items
                                       (subcontract)
    (see above)       Athena           2012076.0920100 CO #8     12/6/13             236220   $127,635       Misc. Items
                                       (subcontract)
    (see above)       Athena           2012076.0920100 CO 19     7/2/14              236220   $33,600        Material
                                       (subcontract)
    (see above)       Athena           2012076.0920100 CO 20     7/28/14             236220   $36,347        Material
                                       (subcontract)
    DoD (US Army      Hensel Phelps    W912DR10C0091 (Prime      9/14/10 – 9/13/20   236220   $24,802,963    n/a
    Corps of                           Contract)6
    Engineers)



1
  St. Elizabeths Campus Tunnel
2
  Richard H. Poff Federal Building
3
  Walter Reed Naval Military Medical Center
4
  ICC-B North Campus
5
  Social Security Administration in Woodlawn, Maryland
6
  BRAC 132 Project at Fort Belvoir, VA


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    (see above)        Athena          2010065-0920000               2/4/11               236220   $907,000        Framing and
                                       (subcontract)                                                               Drywall
    (see above)        Athena          2010065-0920000 Change        6/22/11              236220   $67,323         Framing and
                                       Order #2 (Various Changes)                                                  Drywall
    (see above)        Athena          2010065-0920000 Change        8/26/11              236220   $32,000         Framing and
                                       Order #3 (Various Costs)                                                    Drywall
    DoD (Naval         Hensel Phelps   N4008013C0155 (Prime          3/29/13 – 9/9/15     236220   $33,348,863
    Facilities                         Contract)7
    Engineering
    Command)
    (see above)        Athena
    DoD (US Army       Hensel Phelps   W912DR13C0035 (Prime          7/22/13 – 6/30/16    236220   $44,967,941     n/a
    Corps of                           Contract)8
    Engineers)
    (see above)        Athena
    Department of      Athena          VA25713C0084 (Prime           5/30/13 – 3/2/16     236220   $5,618,796
    Veterans Affairs                   Contract)9
    DoD (Naval         CDMS/CW         N4008012C0006 (Prime          9/25/12 – 8/17/15    236220   $88,484,498     n/a
    Facilities         JV              Contract)10
    Engineering
    Command)
    (see above)        Athena
    DoD (US Army       Turner /        W9123607C0053 (Prime          9/28/07 – 12/12/14   236210   $955,046,621    n/a
    Corps of           Gilbane JV      Contract)11                                                 (Current
    Engineers)                                                                                     Value of
                                                                                                   $324,197,210)
    (see above)        Athena
    Smithsonian        Clark/Smoot/    F11CC10359 (Prime             7/8/11 – 2/28/17     236220   $417,969,490    n/a
    Institution        Russell JV      Contract)12                                                 (Current
                                                                                                   Value of
                                                                                                   $300,209,067)
    (see above)        Athena          30864 (Subcontract)           1/16/12                       $124,000
                       Clark           P12PC20333 (Prime
                                       Contract)13
    (see above)        Athena          32717 (Subcontract)           10/26/12                      $150,941
                       Clark/          AOC13C2002 (Prime
                       Christman JV    Contract)14
    (see above)        Athena          34719 (Subcontract)           10/14/13                      $16,365


VI.          ATHENA FALSELY CERTIFIED IT QUALIFIED AS A HUBZONE BUSINESS

             150.      Defendant Athena sought certification as a HUBZone contractor to: (1) compete

for federal contracts set aside for HUBZone companies; and (2) sell its HUBZone classification as

part of an illegal pass-through scheme with its Co-Defendants.

             151.      Athena’s certification in its HUBZone application contained the following

statement:


7
  Russell Knox – P646 DSS Facility Addition Project
8
  Nolan Building Parking Garage
9
  Audie Murphy VA Hospital (Barton Malow)
10
   USMC University
11
   Hospital at Fort Belvoir, VA
12
   National Museum of African American History and Culture
13
   World War II Memorial
14
   Cannon House Office Building


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        The U.S. Small Business Administration (SBA) relies on the information in the
        applicant’s online submission, this form and any documents or supplemental
        information submitted in connection with this application to determine whether the
        applicant qualifies as a HUBZone small business concern (SBC). The definitions
        for the terms used in this certification and throughout this application are set forth
        in the Small Business Act (15 U.S.C. § 632), SBA regulations (13 C.F.R. Part 126),
        and also any statutory and regulatory provision referenced in those authorities.

        152.       The Certification further states: “The undersigned has reviewed, verified and

certifies that”:

        All the statements and information provided in the applicant’s online application,
        this form and any attachments are true, accurate and complete. If assistance was
        obtained in completing this form and the supporting documentation, I have
        personally reviewed the information and it is true and accurate. I understand that
        these statements are made for the purpose of determining eligibility and continuing
        eligibility in the HUBZone Program. In addition, the applicant will immediately
        notify the SBA of any material change which could affect the applicant’s HUBZone
        SBC eligibility.

        …. [C]ertifications in this document are continuing in nature. Each HUBZone
        prime contract or subcontract for which the applicant submits an offer/quote or
        receives an award while a HUBZone SBC constitutes a restatement and
        reaffirmation of these certifications.

        153.       Above the signature line, the Certification contained the following warning:

        Warning: By signing this certification you are representing on your own behalf, and
        on behalf of the applicant, that the information provided in this certification, the
        application and any document or supplemental information submitted in connection
        with this application, is true and correct as of the date set forth opposite your
        signature. Any intentional or negligent misrepresentation of the information
        contain in this certification may result in . . . civil . . . sanctions including, but not
        limited to . . . treble damages and civil penalties under the False Claims Act . . . .

        154.       To meet the requirement that at least 35% of its employees reside in a HUBZone,

Athena fraudulently included on its employee roster individuals who are either not employees

under the relevant regulations and/or do not reside in a HUBZone.

        155.       For example, the Athena “Employee List” identifies Amber Peebles and Melissa

Schneider’s residence as being in a HUBZone in Lynchburg, Virginia—160 miles from Athena’s




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headquarters in Dumfries, Virginia. In fact, at all times material hereto, Peebles and Schneider’s

actual residence has been located at 3201 Riverview Drive in Triangle, Virginia—which is not in

a HUBZone and is located approximately one mile from the company’s headquarters.

        156.    In addition, Athena falsely certified that Mary Frezza and Sarah Anderson were

“employees” of the company when, in fact, they were not. Rather:

            o Mary Frezza was the manager for the office park where Athena had its Dumfries

                offices, but at no time did she serve as a full-time Athena employee working at least

                40 hours a month as required by the SBA.

            o Sarah Anderson at various times has lived in Lynchburg, Virginia (some 160 miles

                from Athena’s offices in Dumfries, Virginia) and in Tampa, Florida, but at no time

                did she serve as a full-time Athena employee working at least 40 hours a month.

        157.    Accordingly, when accurately represented, Athena did not satisfy the HUBZone

35% residency requirement at any time from 2011 through 201715:

            o 2011: of its seven employees, only one resided in a HUBZone = 14%.

            o 2012: of its fourteen employees, only one resided in a HUBZone = 7%.

            o 2013: of its twenty-two employees, only resided in a HUBZone = 14%.

            o 2014: of its twenty-one employees, only four resided in a HUBZone = 19%.

            o 2015: of its seventeen employees, only four resided in a HUBZone = 23%.

            o 2016: of its thirteen employees, only two resided in a HUBZone = 12%.

            o 2017: of its nine employees, only one resided in a HUBZone = 11%.




15
  These figures include as “employees” even those individuals whose employment status and/or addresses Relator
has not been able to confirm.


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          158.   As a direct result of Athena’s false representations that at least 35% of its

employees resided in a HUBZone, it was granted HUBZone certification in 2011. Athena’s

certification in 2011 and re-certifications each year from 2012 through 2017 were knowingly false.

          159.   Once Athena became a HUBZone certified business, it received numerous benefits,

including access to government contracts set aside specifically for HUBZone businesses. As a

HUBZone business, Athena also received a 10% price evaluation preference for government

contracts. In other words, the price offered by a qualified HUBZone business is deemed to be

lower than the price offered by a non-HUBZone business if the price offered by the qualified

HUBZone business is not more than 10% higher than the price offered by the otherwise lowest

bidder.

          160.   Defendant Athena certified in its Online Representations and Certifications

Application (“ORCA”) that it was a qualified HUBZone business, and then represented as part of

its bids on government contracts that this certification was current and accurate.

          161.   Defendant Athena submitted, or caused to be submitted, the company’s ORCA,

which states: “It is a HUBZone small business concern listed, on the date of this representation,

on the List of Qualified HUBZone Small Business Concerns maintained by the Small Business

Administration, and no material change in ownership and control, principal office, or HUBZone

employee percentage has occurred since it was certified in accordance with 13 CFR part 126.”

          162.   This representation in the ORCA was false, and Athena knew that it was false when

made. Athena appeared on SBA’s list of HUBZone concerns only because it obtained that listing

through the false statements it made as part of the HUBZone application process.

          163.   Defendant Athena knowingly misrepresented its eligibility for the HUBZone

program to fraudulently obtain contracts set aside for HUBZone businesses. As a result of its




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misconduct, Athena undercut one of the central purposes of the HUBZone program, which is to

support small businesses located in geographic areas that have historically been unable to attract

businesses and jobs. Accordingly, the United States did not receive the intended benefits of a

qualified HUBZone company receiving and performing federal contracts.

            164.   Using its fraudulent HUBZone certification, Athena received at least 31 contracts

totaling $87,646,677.06:

 Contract           Contracting        Contract    Contracting    Contracting   Contracting Office      Transaction    Sum of
 Number             Title              Start       Agency         Bureau        Level 3                 Value          Contract's
                                       Date                                                                            Trans.
 140G0118D0003      MULTIPLE AWARD       5/25/18   Dept of the    Water and     Geological Survey           $25,000       $25,000
                    IDIQ CONTRACTS                 Interior       Science -     (USGS)
                    FOR CONSTR.                    (DOI)          Assistance
                    SERV. (ATHENA)                                Sec’y (WS)
                    “OTHER
                    FUNCTION"
 DOCSA130114BU0     CARPET REPAIR      10/31/14    Dept of        Office of     Office of Acquisition      ($258.98)     $392,539
 004                AND                            Commerce       the Sec’y     Mgmt.
                    INSTALLATION                   (DOC)          (OS)          (OAM)/Washington
                    SERVICES.                                                   DC (1331J7)


 HQ003414D0005      Washington          3/20/14    Dept of        Other         WHS                       ($10,000.)   $6,360,013
                    Headquarters                   Defense        Defense
                    Serv. (WHS)                    (DOD)          Agencies
                    Constr. FY14
 HQ003414D0005      WHS Constr. FY14    3/20/14    DOD            Other         WHS                      $2,362,900    $6,360,013
                                                                  Defense
                                                                  Agencies
 INP16PX02649       G:CPGRE,            8/10/16    DOI            Fish and      Nat’l Park Service          $96,407       $96,407
                    G:BIOBA,                                      Wildlife      (NPS)
                    G:OTHER, MINOR                                and Parks -
                    CONSTRUCTION                                  Assistant
                    TITLE: RENOVATE                               Sec’y
                    THE COMFORT                                   (FWP)
                    STATIONS AT THE
                    FRENCH QUARTER
                    VISITOR CENTER
                    PMIS:
                    177247LOCATION:
                    JEAN LAFITTE
                    NATIONAL
                    HISTORICAL PARK
                    AND PRESERVE,
                    419 DECATUR
                    STREET, NEW
                    ORLEANS, LA.
                    70130
 HQ003414D0005      WHS Constr. FY14    3/20/14    DOD            Other         WHS                         $91,959    $6,360,013
                                                                  Defense
                                                                  Agencies
 HQ003414D0005      WHS Constr. FY14    3/20/14    DOD            Other         WHS                               $0   $6,360,013
                                                                  Defense
                                                                  Agencies




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HQ003414D0005    WHS Constr. FY14    3/20/14   DOD        Other         WHS                   $0    $6,360,013
                                                          Defense
                                                          Agencies
HQ003414D0005    WHS Constr. FY14    3/20/14   DOD        Other         WHS               $42,648   $6,360,013
                                                          Defense
                                                          Agencies
HQ003414D0005    WHS Constr. FY14    3/20/14   DOD        Other         WHS                   $0    $6,360,013
                                                          Defense
                                                          Agencies
DOCSA130114BU0   CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington     $2,625    $392,539
004              AND                                                    DC (1331J7)
                 INSTALLATION
                 SERVICES.


HQ003414D0005    WHS Constr. FY14    3/20/14   DOD        Other         WHS              $802,009   $6,360,013
                                                          Defense
                                                          Agencies
HQ003414D0005    WHS Constr. FY14    3/20/14   DOD        Other         WHS              $292,314   $6,360,013
                                                          Defense
                                                          Agencies
DOCSA130114BU0   CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington   $12,3370   $392,539.9
004              AND                                                    DC (1331J7)
                 INSTALLATION
                 SERVICES.


HQ003414D0005    WHS Constr. FY14    3/20/14   DOD        Other         WHS              $366,983   $6,360,013
                                                          Defense
                                                          Agencies
DOCSA130114BU0   CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington     $6,596    $392,539
004              AND                                                    DC (1331J7)
                 INSTALLATION
                 SERVICES.


INP15PC00316     REPLACE FRONT       6/25/15   DOI        Fish and      NPS               $24,983     $24,983
                 ROYAL ENTRANCE                           Wildlife
                 STATION ROOF                             and Parks -
                 REPLACEMENT                              Assistant
                                                          Sec’y
                                                          (FWP)
DOCSA130114BU0   CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington   $22,4380   $392,539.9
004              AND                                                    DC (1331J7)
                 INSTALLATION
                 SERVICES.


DOCSA130114BU0   CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington     $4,396    $392,539
004              AND                                                    DC (1331J7)
                 INSTALLATION
                 SERVICES.


DOCSA130114BU0   CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington     $9,628    $392,539
004              AND                                                    DC (1331J7)
                 INSTALLATION
                 SERVICES.




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 DOCSA130114BU0    CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington        $13,3665     $392,539
 004               AND                                                    DC (1331J7)
                   INSTALLATION
                   SERVICES.


 DOCSA130114BU0    CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington          $2,683     $392,539
 004               AND                                                    DC (1331J7)
                   INSTALLATION
                   SERVICES.


 DOCSA130114BU0    CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington          $2,112     $392,539
 004               AND                                                    DC (1331J7)
                   INSTALLATION
                   SERVICES.


 DOCSA130114BU0    CARPET REPAIR      10/31/14   DOC        OS            OAM/Washington          $8,661     $392,539
 004               AND                                                    DC (1331J7)
                   INSTALLATION
                   SERVICES.


 HQ003414D0005     WHS Constr. FY14    3/20/14   DOD        Other         WHS                         $0    $6,360,013
                                                            Defense
                                                            Agencies
 HQ003414D0005     WHS Constr. FY14    3/20/14   DOD        Other         WHS                  $2,401,200   $6,360,013
                                                            Defense
                                                            Agencies
 ING12PC00063      REPLACE HOT         9/21/12   DOI        Water and     USGS                    ($0.11)    $460,183
                   WATER LINES TO                           Science -
                   FAN COILS                                Assistance
                                                            Sec’y (WS)
 W912HQ14P0070     BLDG 2593-          6/24/14   DOD        Dept of the   U.S. Army Corps of          $0      $20,999
                   MATERIAL                                 Army (USA)    Engineers (USACE)
                   STORAGE ROOF
                   UPGRADE
 W912HQ14P0070     BLDG 2593-          6/24/14   DOD        Dept of the   USACE                  $20,999      $20,999
                   MATERIAL                                 Army (USA)
                   STORAGE ROOF
                   UPGRADE
 HQ003414D0005     WHS Constr. FY14    3/20/14   DOD        Other         WHS                    $10,000    $6,360,013
                                                            Defense
                                                            Agencies




        165.      Defendant Athena submitted and/or caused to be submitted to the United States

false and/or fraudulent claims and false statements regarding its HUBZone eligibility when it filed

its original HUBZone application, bid on the government contracts, and submitted claims for over

$87 million in payments under those contracts. These claims and statements falsely and/or

fraudulently implied and/or expressly represented that at least 35% of Athena’s employees resided

in a designated HUBZone, that Athena was qualified for and remained qualified for the HUBZone



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program, and that Athena was eligible for the government contracts. None of these things was

true.

VII.    DEFENDANTS’ PASS-THROUGH SCHEME

        166.     Defendant Athena was founded by two individuals who do not have a construction

or engineering background. In fact, Athena has very little full-time staff, little expertise in

construction or engineering, no real workforce, and virtually no heavy construction equipment.

Despite these limitations, Athena has generated millions of dollars in revenue from government

issued construction contracts.

        167.     Defendant Athena’s business model is not construction or even construction

management.        Instead, Athena and its owners make money by selling its small business

certifications to larger non-SBA companies that need to meet subcontracting goals and/or want to

gain preferential treatment in the government contracting process.

        168.     Defendants’ scheme works as follows:

                 (a)     Co-Defendants would approach Athena about a government project
                         they wanted or needed Athena to be attached to in order to help meet
                         the obligations under their subcontracting plans;

                 (b)     Athena would be paid16 a so-called “small business fee” or
                         “administrative fee” in exchange for Athena “carrying the contract”
                         on its books;

                 (c)     Athena would assign a project manager (“PM”), who was usually an
                         inexperienced recent college graduate, to the project. The PM’s only
                         job was to be present or to check in periodically;

                 (d)     Co-Defendants would cover all of Athena’s costs, including the
                         salary of the PM; and

16
  On government projects, contractors typically add between 5% to 10% for profit and an additional 10% for overhead.
An example of a traditional submittal is attached as Exhibit 83. Further, the profit and overhead are also always
disclosed to the government. The fee being accepted by Defendant Athena is not a reference to profit and overhead
and it is never disclosed to the government. Here, the profit and overhead passes through to the second-tier
subcontractor. Obviously, the profit is being impacted by Athena taking a fee. However, if it was not for Athena
serving as a pass-through the subcontractor would have received nothing and may not even have been allowed to serve
as a first-tier subcontractor for the project.


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               (e)    It was understood by all the parties that Athena would not be doing
                      any actual work on the project. Instead, all of the actual work would
                      pass through to a second-tier subcontractor, which usually had
                      already been selected by one of the Co-Defendants. The
                      subcontractor would not qualify as a small business or any of the 8(a),
                      HUBZone, SDVOSB or WOSB programs.

       169.    As alleged below, Co-Defendants engaged in fraud by falsely representing to the

government that it was performing small business eligible services when, in fact, it acted as a pass-

through organization utilized by large contractors to circumvent the regulations and the law in

order to obtain and keep the prime contract that required small business subcontracting.

       A.      BALFOUR BEATTY

               1.     The St. Elizabeths Tunnel Project

       170.    In September 23, 2010, Defendant Balfour Beatty was awarded a $24.6 million

contract relating to the Tunnel/Site Infrastructure Project at St. Elizabeths (“St. Elizabeths”). This

project is part of the first phase in a multiphase construction project that will construct a new office

and research campus for the Department of Homeland Security at St. Elizabeths. The site, located

one mile east of DC on Martin Luther King Boulevard, is the former St. Elizabeths Hospital site

in Anacostia, Washington, DC.

       171.    The project Solicitation (GS11P10MKC0059) stated the following:

            This negotiated solicitation is open to both small and large business firms. The
            firm (if not a small business concern) shall be required to present an acceptable
            small business, veteran-owned small business, service-disabled veteran-owned
            small business, HUBZone small business, small disadvantaged business, and
            woman-owned small business Subcontracting Plan in accordance with Public
            Law 95-507, as part of its proposal. Consideration is open to established,
            qualified firms (including subcontractors), which currently have active,
            properly staffed offices within the continental United States.

       172.    Accordingly, the contract’s Subcontracting Plan required that “30% total planned

subcontracting dollars under this contract [had to] go to subcontractors who are small business



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concerns.”17 In addition, of the 30% total, 6% of the subcontracting dollars had to go to 8(a)

subcontractors, 5% to WOSB and 3% both to HUBZone and SDVOSB subcontractors.18

        173.     To help meet these subcontracting goals—because it could meet several goals

through the use of a single subcontractor—Defendant Balfour Beatty’s Director of Purchasing,

Robert Robidoux, approached Athena in early February of 2011 about serving as a first-tier

subcontractor on the St. Elizabeths project. According to Relator’s February 4, 2011 email19 to

Ms. Peebles:

        I had a good meeting with Bob Robidoux and Brian Clark [of Balfour Beatty]
        discussing the upcoming work at St. Elizabeths. Bob would like you to call him to
        discuss our management fee and bonding. He would like us to manage
        approximately 1.3 million worth of work over a 12-month period in 2011.

        174.     On February 4, 2011, Relator emailed Mr. Robidoux to let him know that he had

spoken to “Amber about [the] management fees and bonding, . . . she would like to visit you on

Monday to discuss.”20

        175.     Two weeks later, on February 15, 2011, Mr. Robidoux emailed Relator and replied

that “if it’s not too late and you're still open, we can meet Friday. . . I was going to open up all of

the bid folders to show you what we have.”21 Mr. Robidoux also attached the scopes of work for

the tunnel project, which included concrete, asphalt, paint and joint caulking.22

        176.     Mr. Robidoux and Defendant Athena met to the discuss the project on Friday

February 18, 2011.23 At that meeting, which Relator attended, Defendants Balfour Beatty and


17
   “Balfour Beatty Certifications for Subcontractors,” attached as Exhibit 1, at 60.
18
   Id.
19
   “Email dated Feb. 4, 2011 from Relator to Amber Peebles re Meeting with Robidoux to Discuss Management
Fee,” attached as Exhibit 2.
20
   “Email dated Feb. 4, 2011 from Bob Robidoux to Relator re meeting with Amber Peebles,” attached as Exhibit 3.
21
   “Email dated Feb. 15, 2011 from Bob Robidoux to Relator re Athena subcontract bid and fees,” attached as
Exhibit 4.
22
   Id.
23
   “Email dated Feb. 18, 2011 from Bob Robidoux to Relator re Athena subcontract bid and fees,” attached as
Exhibit 5.


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Athena agreed to deceive the government by having Athena serve as a pass-through on the St.

Elizabeths project in exchange for an illegal kickback in the form of a 6% “administrative fee” on

all the subcontracted work that was passed through Athena.

        177.     On May 5, 2011, Mr. Robidoux emailed Relator the following update24:

        Good morning, Bill.
        Trying to finalize contracts for the Tunnel. I will be issuing you a contract for :
        Furnish & install Fire Extinguisher cabinets                  $    630
        Furnish & install painting per scope                          $ 15,524
        Furnish & install caulking (Caulking Applicators)             $ 42,202
        (you will need to issue a subcontract to them for $42,202)
        6% administrative fee on subcontracted work                   $ 2,532
        TOTAL AMOUNT OF ATHENA SUBCONTRACT                            $ 60,888

        I am attaching the scope of work that was previously provided. A formal
        subcontract is being prepared & will be emailed to you shortly. I am still working
        on the asphalt (awaiting boiler plate comments from Aggregate Industries) and the
        concrete pavement. Those would be added to your contract via change order once
        I get everything settled with those vendors.

(emphasis added)

        178.     Two weeks later, on May 19, 2011, Mr. Robidoux emailed Ms. Peebles the

following25:




24
   “Email dated May 5, 2011 from Bob Robidoux to Relator re Athena subcontract value for St. Elizabeth's Project,”
attached as Exhibit 6.
25
   “Email dated May 19, 2011 from Bob Robidoux to Amber Peebles re Chevy Chase as Second Tier Sub,” attached
as Exhibit 7.


                                                       43
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       179.    As shown above, Defendant Balfour Beatty intentionally and knowingly created a

pass-through for the St. Elizabeths project to meet its obligations under the contract’s

Subcontracting Plan. Nearly 90% of the total contract (including the impermissible 6% fee) was

being billed by a large business, Chevy Chase Contractors, Inc. (located at 8750 Brookville Road,

Silver Spring, Maryland 20910), not by Athena. Chevy Chase does not qualify as a small business

under any SBA program.

       180.    Critical to the scheme, Mr. Robidoux had to convince Chevy Chase to serve as a

second-tier subcontractor even though they were doing all the work. Chevy Chase agreed to

participate in this deception.



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         181.     In addition, Mr. Robidoux decided that they needed to avoid involving Aggregate

Industries in the scheme because they are too “bureaucratic.” In other words, Balfour Beatty

conspired with the willing and avoided those who would be likely to report its illegal activities.

         182.     The above emails also demonstrate that Defendant Balfour Beatty selected all of

the second-tier contractors that would do all the actual work: Chevy Chase Contractors (concrete)

and Caulking Applicators, Inc. (caulking).26

         183.     On May 25, 2011, Mr. Robidoux emailed Ms. Peebles to let her know that he “made

a deal with Carlos [Fernandez from Chevy Chase Contractors] . . . [for] $1,150,000 including

payment [for the concrete work] & performance bonds.”27

         184.     On May 26, 2011, Defendant Balfour Beatty sent Defendant Athena the

Subcontract Agreement.28 As submitted to the government contracting officer, Balfour Beatty

fraudulently represented it was complying with the Subcontracting Plan by awarding Athena a

$1,279,888 subcontract.29

         185.     According to the Subcontract submitted to the government, Defendant Athena

“agree[d] to furnish all labor, services, materials, installation, hoisting, supplies, insurance,

equipment, scaffolding, tools and other facilities of every kind and description required for the

prompt and efficient execution of painting, site concrete, & caulking.”30

         186.     Not only did the Subcontract deceptively make it appear that Athena was

undertaking substantial responsibilities when in fact it was only a pass-through, the Subcontract




26
   See “Caulking Applicators, Inc. proposal submitted to Balfour Beatty,” attached as Exhibit 8; see also Ex. 6.
27
   “Email dated May 25, 2011 from Bob Robidoux to Relator re Subcontract Agreement with Carlos [Chevy
Chase],” attached as Exhibit 9.
28
   “Athena Subcontract for St. Elizabeth's Project,” attached as Exhibit 10.
29
   Id.
30
   Id.


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did not disclose the impermissible 6% administrative fee being paid to Athena for passing through

the work to the second-tier subcontractors Balfour Beatty had selected for the project.

        187.     The fee was hidden from the government and not included in the Subcontract

because Defendants wanted it to appear that Balfour Beatty was meeting its subcontracting goals

by hiring a SDVOSB, WOSB, HUBZone-certified construction company that actually performed

work on the project.

        188.     Defendant Athena did not perform any of the actual work on the St. Elizabeths

project. Additionally, Defendant Balfour Beatty did not expect Defendant Athena to perform any

of the work, except for the hanging of a few fire extinguishers. In exchange for carrying the

Subcontract, Athena was paid a kickback of approximately $100,000.

        189.     On November 2, 2011, Balfour Beatty’s Senior Project Engineer Oya White, who

seemed to be unaware of the above scheme, informed Athena that the Government was buying

back a portion of the Subcontract and would “be expecting a credit from Athena for this work.”31

        190.     Ms. Schneider emailed Relator to complain that “BB [Balfour Beatty] contacts us

asking for help with their small business goals…. [T]hey cut our scope by 66%, and now we are

going to lose whatever we were making in fee up to having to provide this credit. Unbelievable.”32

        191.     On May 9, 2012, Defendant Athena submitted a $20,000 change order to help make

up for the lost fee. Ms. White expressed concern over the late change order and demanded that

“someone needs to call me ASAP!!”33




31
   “Emails dated Nov. 2, 2011 between Oya White, Relator, and Melissa Schneider re credit from Athena,” attached
as Exhibit 11.
32
   Id.
33
   “Email dated May 9, 2012 from Oya White to Amber Peebles and Relator re change order,” attached as Exhibit
12.


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        192.     On June 12, 2012, Mr. Robidoux spoke to Dave Convis, Balfour Beatty Senior

Project Manager, on behalf of Athena to get the change order approved. The following day, Mr.

Robidoux emailed Ms. Peebles to relay his conversation with Mr. Convis. According to Mr.

Robidoux: “by the time I was done, I think he saw the light at the end of the tunnel.” Ms. Peebles

forwarded Mr. Robidoux’s email and added “we owe him one….”34

        193.     With regard to the painting work, Defendant Athena subcontracted the project to

Hunt & Walsh, Inc. (“Hunt & Walsh”)—a large Manassas, Virginia-based commercial painting

company with revenue between $20 to $50 million, which was well above the applicable NAICS

code threshold for small businesses.            Hunt & Walsh performed the painting portion of the

Subcontract and charged Athena $18,150 for the work.35

        194.     The change order was approved and the government unwittingly paid Defendant

Athena an additional $20,000.

        195.     Defendants Athena and Balfour Beatty had previously engaged in similar illegal

practices and, on information and belief, have continued to engage in such practices up until the

present.

                 2.     Richard H. Poff Federal Building

        196.     At the same time that the parties were negotiating the St. Elizabeths project

subcontract, Defendants Balfour Beatty and Athena engaged in a similar scheme involving a $43.9

million contract for the renovation of the Richard H. Poff Federal Building, 250 Franklin Road

SW, Roanoke, Virginia (the “POFF Project”).36 The building is located on a 1.3-acre lot at the

western end of the central business area of Roanoke, Virginia.


34
   “Emails dated June 13, 2012 re Athena change order approval,” attached as Exhibit 13.
35
   “Email dated June 29, 2012 from Stacey Walsh to Relator re Hunt and Walsh, Inc. proposal,” attached as Exhibit
14 and “Hunt & Walsh, Inc. Cost Proposal,” attached as Exhibit 15.
36
   “Email dated Mar. 10, 2011 from Amy Su to Relator re Poff Federal Building Bid,” attached as Exhibit 16.


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       197.    The Poff Federal Building, which is fourteen stories tall and contains 254,670

rentable square feet of office and courtroom space, was originally constructed in 1975 and was in

desperate need of modernization. The purpose of the POFF project was to update the building

systems as well as improve its energy efficiency by incorporating “greening” elements.

Specifically, the Poff Project included window curtain wall, installation of HVAC systems,

renovation of the bathrooms, upgrades to the lighting fixtures, and the installation of a new green

roof with a solar energy system.

       198.    Defendant Balfour Beatty awarded Athena a $1,933,184 subcontract for the POFF

project to provide doors, frames, paint and ceramic tile. In exchange for carrying the contract,

similar to the St. Elizabeths project, Defendant Athena was paid a kickback in the amount of

approximately $100,000.

       199.    The Subcontract does not disclose the impermissible 6% administrative fee being

paid to Athena on work passed through to the second-tier subcontractors Balfour Beatty had

selected for the project.

       200.    The fee was hidden from the government and not included in the Subcontract

because Defendants wanted it to appear that Balfour Beatty was trying to meet its subcontracting

goals on this project by hiring a SDVOSB, WOSB, HUBZone construction company that would

actually work on the project.

       201.    Except for the installing of some doors, Defendant Athena did not perform any of

the work on the POFF Project. Additionally, Defendant Balfour Beatty did not expect Defendant

Athena to perform any of the work in the scope of the Subcontract.




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           202.     Defendants Balfour Beatty and Athena engaged in a similar scheme involving

subcontracts at Walter Reed National Military Medical Center and National Geospatial-

Intelligence Agency.

           B.       CLARK/BALFOUR BEATTY JV

                    The Walter Reed National Military Medical Center

           203.     The Walter Reed National Military Medical Center renovation project was a joint

venture between Defendants Balfour Beatty and Clark.37 In May of 2008, the Naval Facilities

Engineering Command awarded Clark/Balfour Beatty JV a design and build contract relating to

the establishment of the new Walter Reed National Military Medical Center at the National Naval

Medical Center in Bethesda (“Walter Reed”).

           204.     The contract award totaled over $640 million and was to be completed over a period

of 40 months. The contract scope involved new construction and renovation of existing facilities,

including approximately 667,000 square feet of new medical office, emergency room and patient

care construction; more than 20,000 square feet of new utility and material handling tunnels and

circulation corridors; more than 400,000 square feet of renovation in areas of Buildings 1 through

10; and a patient parking garage.

           205.     Defendant Clark/Balfour Beatty JV awarded Defendant Athena a $2,200,000

subcontract to provide doors, frames, hardware, and numerous medical suites. In exchange for

carrying the contract, similar to the arrangements it had entered into with Balfour Beatty on the St.

Elizabeths Tunnel and the POFF Project, Athena was paid a kickback in exchange for its small

business certifications.




37
     “Email dated Feb. 23, 2011 from Tim Stroud to Relator re Athena manpower projections,” attached as Exhibit 17.


                                                         49
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        206.     In the case of the Walter Reed project, Athena’s fee was 3% of the work that was

passed through Athena to the second-tier subcontractor. To internally track the work and its fee,

Athena created Scope of Work spreadsheets.38 The spreadsheets detail the subcontracts awarded

to Athena and how much it was paid in impermissible fees, for example:




        207.     The Walter Reed Subcontract does not disclose the 3% fee being paid to Athena on

work passed through to the second-tier subcontractor.

        208.     The fee was hidden from the government and not included in the Walter Reed

Subcontract because Defendants wanted it to appear that the Clark/Balfour Beatty JV had met its

subcontracting goals on this project by hiring a SDVOSB, WOSB, HUBZone construction

company that would actually work on the project.

        209.     Defendant Athena did not perform any of the actual work on the Walter Reed

project. Additionally, Defendants Balfour Beatty and Clark did not expect Defendant Athena to

perform any of the work in the scope of the subcontract.

        210.     At all times material to this Second Amended Complaint Clark/Balfour Beatty JV

had actual knowledge both that Athena misrepresented its status and served simply a pass-

through— i.e., bringing no value—to the Walter Reed project.




38
   “Email dated Feb. 23, 2011 from Melissa Schneider to Relator attaching scopes of work for Walter Reed,”
attached as Exhibit 18. The five scopes of work are attached as Exhibits 19–23.


                                                       50
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        C.       CLARK CONSTRUCTION COMPANY

                 Intelligence Community Campus North Campus (“ICCB”)

        211.     Defendant Clark was awarded a $300 million contract for the design and build of

the new Intelligence Community Campus-Bethesda (ICCB). The ICCB project is a design-build

construction of a parking garage and two support buildings (the VCC and the VIS) on the ICCB

campus.39

        212.     The ICCB garage is six stories, precast, and largely open.40 The VCC is a one-story

building with an envelope consisting of curtainwall and metal panels up with metal framing.41 The

VIS is a small masonry building with a large metal-framed canopy.42

        213.     To help meet the contract’s subcontracting goals,43 on October 18, 2016, Defendant

Clark’s Project Manager Doug Fox met with Ms. Peebles regarding Athena’s potential

involvement in the ICCB project.44

        214.     Ultimately, Defendant Clark awarded Defendant Athena a $2,720,000 subcontract

relating to the frames, doors and hardware. As submitted to the government contracting officer,

Defendant      Clark     met     some     of    its   small     business     subcontracting       goals—i.e.,

WOSB/HUBZone/SDVOSB, by awarding Athena the ICCB subcontract.

        215.     On December 19, 2011, Clark emailed45 Ms. Peebles the revised exhibits to the

Subcontract titled Exhibit B46 and B-1.47



39
   “Athena Summary of ICC-B Project,” attached as Exhibit 24.
40
   Id.
41
   Id.
42
   Id.
43
   “Exhibit B-1 to Athena Subcontract re Mentor Protege Provision,” attached as Exhibit 25.
44
   “Email dated Dec. 16, 2011 between Clark and Athena re Scope of Work for Athena on ICC-B Project,” attached
as Exhibit 26.
45
   “Email dated Dec. 19, 2011 from Kattya Via to Amber Peebles re ICC-B Revised Exhibit B and B-1 to Athena
Subcontract,” attached as Exhibit 27.
46
   “Exhibit B to Athena Subcontract,” attached as Exhibit 28.
47
   See Ex. 25.


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         216.   According to Exhibit B-1 of the Subcontract, which is marked For Internal Use

Only, Clark was to conduct an “initial assessment of the proposed skills [Athena] is able to provide

at the time of entering into the Project” and will conduct periodic evaluations.48         Such an

assessment would have revealed that Athena had virtually no workforce or equipment.

         217.   In addition, Athena agreed to work “as a first-tier subcontractor to Clark and …

provide general contracting services to manage the construction of the VCC and VIS buildings.”49

Accordingly, as the first-tier subcontractor, Athena agreed to be responsible for the overall

management of the trades within these two structures.50

         218.   Despite the above provisions, Exhibit B-1 also strikes language from the

Subcontract that allowed Athena to control the work in the VCC and VIS buildings, confirming

that Clark’s knowledge and approval were required before Athena could subcontract any scope of

the work to another company. Exhibit B-1 replaced Article 19 of the Subcontract with the

following language:

                Subcontractor shall not assign, subcontract, or transfer this Subcontract, or
         funds due hereunder, without the prior written consent of Subcontractor's surety
         and Clark. Clark shall not unreasonably withhold its consent to the assignment of
         funds due hereunder. Lower-tier subcontracts are subject to the provisions of this
         Subcontract, and Subcontractor shall insert in Subcontractor's subcontracts all
         provisions required by the Contract Documents or necessary to enable the lower-
         tier subcontractor to comply with the terms hereof. Subcontracting by
         Subcontractor shall not abrogate any obligation of Subcontractor under this
         Subcontract.

         219.   In addition to the above language, Exhibit B-1 also details what Defendant Athena

would be paid to carry this contract. Similar to the arrangement it had with Defendant Balfour

Beatty, Athena was paid a fee and its costs were covered.



48
   Id.
49
   Id.
50
   Id.


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        220.    According to Exhibit B-1 of the Subcontract51:




        221.    And despite being awarded the Subcontract, Defendant Athena agreed to relinquish

all aspects of the project back to Clark. As noted in the above documents52, Athena:

        . . . shall not proceed with any work associated the following allowances without
        prior written direction from an officer of Clark, and receipt of an executed change
        order(s) to this Subcontract reconciling any difference between the allowance
        amount and the amount of the lower-tier subcontract (or purchase order) to the
        lower-tier subcontractor (or supplier) that will be performing the work for each
        trade. Any resulting savings or loss will accrue to Clark.

        222.    Consistent with the above language, Defendant Athena did none of the work

mentioned in the subcontracting scope. Instead, all of the work was completed by second-tier

subcontractors selected, controlled, and supervised by Defendant Clark.

        223.    For example, on March 8, 2012, Athena, at the direction of Clark, issued a

$1,574,000 subcontract to the Limbach Company, LLC for the mechanical work.53 Limbach is a

large national mechanical contractor and is a subsidiary of Limbach Holdings, Inc., which had

revenues of $485.7 million in 2017.




51
   See id.; see also “Athena Summary of Contract Structure with Fees,” attached as Exhibit 29.
52
   Id.
53
   “Athena Weekly Summary for 03.09.2012,” attached as Exhibit 30; “Athena Subcontract with Limbach for ICC-B
Project,” attached as Exhibit 31.


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        224.     In creating the subcontract for Limbach, Athena simply replaced Clark’s logo for

its logo on Exhibit A, which laid out the scope of Athena’s subcontract.54

        225.     In addition to Limbach, Defendant Athena issued subcontracts to a number of large

contractors including The Berlin Steel Construction Company ($660,000) and Gordon Contractors

($347,000).55

        226.     By September 8, 2013, the value of Athena’s subcontract for this project had

increased to $4,412,949 as the direct result of its issuing various change orders, and Athena’s fee

had increased to more than $150,000.

        227.     Other than building a temporary deck around the construction trailers, Defendant

Athena did not perform any work on this project, nor did it provide any supervision or oversight

of the second-tier subcontractors. Athena’s contribution to this project is reflected only on paper,

rather than at the site.

        228.     Defendants Clark and Athena engaged in a similar scheme involving contracts at

National Museum of African American History and Culture,56 Cannon House Office Building

Renewal Project,57 and Repairs to the Failed Slurrywall/Pool Membrane and Drawing System at

WWII Memorial.58

        D.       HENSEL PHELPS CONSTRUCTION COMPANY

                 1.     Social Security Administration – Woodlawn, Maryland (“SSA”)

        229.     Occasionally, Athena would be approached by a large company and asked to serve

as a pass-through by bidding on a government project as a first-tier subcontractor, and then passing




54
   Compare Ex. 31 with “Exhibit A to Athena Subcontract with Clark for ICC-B Project,” attached as Exhibit 32.
55
   See Ex. 29.
56
   “Athena Subcontract for National Museum of African American History and Culture,” attached as Exhibit 33.
57
   “Athena Subcontract for Cannon House Office Building Project,” attached as Exhibit 34.
58
   “Athena Subcontract for World War II Memorial,” attached as Exhibit 35.


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along all of the work in exchange for an administrative fee.59 Athena would submit its bid knowing

that it would only be receiving its administrative fee and that all of the work would be done by the

other company that on paper would be identified only as a downstream subcontractor.

        230.     Defendant CAS was one such company with which Athena had the above

relationship. According to one informant, Athena and CAS have a “special relationship,” which

originally developed among Ms. Peebles, CAS Vice President Dave Prosida, and CAS Assistant

Vice President Ali Khosravi. The two companies developed a scheme whereby Athena would use

its small business certifications to secure government contracts and then pass through to CAS all

the underlying work for those contracts.

        231.     For example, on February 11, 2013, Athena’s Ms. Schneider emailed CAS Vice

President Richard Unger and Mr. Khosravi, thanking them for lunch and expressing her agreement

to “carry [a] contract for you guys.”60 The subcontract that she was referring to concerned

$2,000,000 worth of work to be done at the Social Security Administration (“SSA”) headquarters

building in Woodlawn, Maryland.61

        232.     According to Ms. Schneider, the “TOTAL COST to carry contract” was $9,812 and

“assumes 52 weeks.” Ms. Schneider's cost analysis confirms Athena would trade its small business

certifications for an administrative fee62:




59
   “Email dated Mar. 28, 2013 from David Garrett to Relator re Shreveport VA Hospital,” attached as Exhibit 36.
60
   “Emails dated Feb. and Mar. 2013 between Athena and CWS re Cost Savings Arrangement,” attached as Exhibit
37.
61
   Id.
62
   Id.


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           233.   Ms. Schneider ends the email by stating that “if the contract can cover these costs

(i.e. they don’t come out of our fee), then the fee plus the shared cost savings arrangement is very

doable.”63

           234.   The cost savings arrangement is the part of the special arrangement that Athena had

with CAS wherein the they shared the profits on the projects that were passed through Athena.

           235.   Later that afternoon at 3:06 pm, Mr. Unger responded that he could “only go to

25,000 including the items shown below. The hope would [b]e that a savings situation would

occur, similar to BRAC.”64

                  2.   BRAC 132

           236.   BRAC is a reference to the BRAC 132 project, a $24,802,963 project site located

within the Fort Belvoir Post in Fairfax, Virginia. The BRAC 132 project was for an Administration

Building, a multi-story Command and Control Building for the Office of the Chief Army Reserves

(“OCAR”), consisting of approximately 100,000 square feet of administrative space, emergency

operations center, secure and non-secure conference rooms, video teleconference centers data

processing center, general officer/senior executive service office suites, storage, administrative

support areas, building support spaces, surface parking, loading and service areas, and a multi-

level parking structure containing 304 spaces. Hensel Phelps was the Prime Contractor.




63
     Id.
64
     Id.


                                                  56
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        237.     As he had with the SSA project (see supra ¶¶ 229-35), in January of 2011, CAS

Vice President Mr. Unger reached out to Athena to propose it serve as a pass-through first-tier

subcontractor with CAS acting as the second-tier subcontractor.

        238.     On February 4, 2011, Defendant Athena was awarded a $907,000 subcontract for

carpentry and drywall for the BRAC 132 project.65 The first-tier subcontract was awarded subject

to a Mentor/Protégé Agreement (“M/P Agreement”) between Athena (ostensibly a small business

entity) and CAS.66 According to the M/P Agreement67:

        Prime Contractor or Construction Manager: Enlists the services of an experienced
        contractor – Component Assembly Systems, Inc. – to ensure the project is executed
        properly with respect to both quality and schedule:

        a.       Allows for meaningful PARTICIPATION – both financial and “hands on”
                 by a qualified small business – SBE, mentored throughout the process

        b.       Provides 100% small business participation that meets or exceeds the intent
                 of federal acquisition requirements with regard to “SMALL BUSINESS/
                 MINORITY BUSINESS PARTICIPATION”

        239.     Contrary to the above requirements, Defendants Hensel Phelps and CAS

understood and expected that Athena would not be doing any actual work and would instead serve

as an illegal pass-through. For example:

             o Regarding Athena’s attendance at the scope review meeting, which was critically
               important for carrying out the project’s work, Mr. Unger informed Athena that it
               was “not essential that [they] attend.”68

             o Only the Relator attended the pre-mobilization meeting on behalf of Athena.69 In
               contrast, CAS sent three representatives, including their Executive Vice President
               Mr. Khosravi.70

65
   “Letter dated Feb. 21, 2011 from Hensel Phelps to Athena confirming Subcontract Number and Value,” attached
as Exhibit 38.
66
   “Athena Change Order dated Feb. 3, 2011 Reflecting Athena's Mentor-Protege Arrangement with CAS,” attached
as Exhibit 39.
67
   “Mentor-Protege Agreement between Athena and CAS,” attached as Exhibit 40.
68
   “Email dated Jan. 31, 2011 from Richard Unger of CWS to Amber Peebles re Scope Review Meeting,” attached
as Exhibit 41.
69
   “Pre-Mobilization Meeting Agenda and Attendance List dated Mar. 7, 2011,” attached as Exhibit 42.
70
   Id.


                                                     57
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             o CAS subcontracted all of the material, which included drywall, steel, accessories,
               to another contractor (Pro-Build, a large business).71 Athena was not involved in
               the materials bidding process or in the awarding the materials contract.72

        240.     Relator was Athena’s Project Manager on the BRAC 132 project. Defendant

Athena did not do any work on the BRAC 132 project and instead passed all of the work through

to CAS.

        241.     In March of 2011, Defendant Hensel Phelps asked Athena for a bid for the Cold

Formed Metal Framing on the BRAC 132 campus. Athena passed on the request to CAS, which

prepared the bid73 and letter.74 CAS Executive Vice President Mr. Khosravi emailed the bid back

to Athena’s Ms. Schneider and instructed her to “send the attached proposal to H.P. [Hensel

Phelps] on your letter head and with the backup.”75                  According to their standard practice,

Defendants CAS and Athena changed the letterhead on the documents to make it appear that

Athena was something more than a pass-through.76

        242.     Defendant Hensel Phelps’s Office Engineer for this project, Colleen O’Sullivan,

who was unaware that Athena was serving just as a pass-through, would often complain to CAS

that Athena was not submitting the requisite paperwork. For example:

                 a. On April 23, 201, Ms. O’Sullivan complained that “we have not
                    received any safety meeting reports or equipment reports.”77 According




71
   “Email dated Feb. 14, 2011 from Ken Varney of ProBuild re Project Submittals for BRAC 132 Project,” attached
as Exhibit 43.
72
   Id.
73
   “Component Assembly Systems, Inc. Bid Summary,” attached as Exhibit 44.
74
   “Draft of Letter from Athena to CAS, prepared by Hensel Phelps,” attached as Exhibit 45.
75
   “Email dated Mar. 1, 2011 from Ali Khosravi of Capital Interiors re Proposal on Athena Letterhead,” attached as
Exhibit 46.
76
   “Email dated Feb. 4, 2011 from Relator to Richard Tinsley of CAS re Placing CAS Submittals on Athena
Letterhead Prior to Submission,” attached as Exhibit 47.
77
   “Email dated May 2, 2011 from Colleen O’Sullivan to Relator and Ali Khosravi of CAS Requesting Athena
Paperwork,” attached as Exhibit 48.


                                                        58
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                      to Ms. O’Sullivan, “Athena has been onsite for weeks now, so there is
                      quite a bit of paperwork that Blaine78 needs to fill out to get up to date.”79

                 b. On June 26, 2011, Ms. O’Sullivan emailed Athena that “your field staff
                    has not been submitting weekly toolbox talks and daily reports on a
                    regular basis and are currently behind for the month of June.”80

        243.     Defendant Athena was not completing this paperwork because it was not on site for

this project.

        244.     Notwithstanding the fact that it did no work on the project, over the life of the

project and through the issuance of various change orders, the value of the Athena subcontract was

increased to $1,020,330.81

        245.     In exchange for carrying the contract, Defendant CAS paid Defendant Athena its

$15,000 fee and costs.82

        246.     Similar to the arrangement identified in Mr. Unger’s email relating to the SSA

project, Defendants CAS and Athena split the cost savings on the BRAC 132 job.83

                 3.     Camp Pendleton Naval Hospital (“CPNH”)

        247.     Defendant Athena’s special relationship with CAS extended to the Camp Pendleton

Naval Hospital (“CPNH”) project with Defendant CAS’s west coast subsidiary, Component West

Inc. (“Component West”).




78
   Athena misrepresented that Blaine Johnson was an Athena employee. In truth, Mr. Johnson was a foreman
employed by CAS.
79
   Id.
80
   “Email dated June 26, 2011 from Colleen O’Sullivan to Smith and Ali Khosravi of CAS re Lack of Athena Daily
and Weekly Reports,” attached as Exhibit 49.
81
   “Athena Change Order #2 Dated 02.03.2011,” attached as Exhibit 50; “Athena Change Order #3 Dated
02.03.2011,” attached as Exhibit 51; and “Request from Hensel Phelps to Athena dated Nov. 16, 2011 for Closeout
Items Before Final Payment,” attached as Exhibit 52.
82
   “Email dated June 22, 2011 from Karen Papa to Colleen O’Sullivan re June 2011 Pay Applications and Athena
LEED Documentation,” attached as Exhibit 53; “Attached Pay Application #7 Dated 06.20.2011,” attached as
Exhibit 54; and “Attached Pay Application #8 Dated 06.20.2011,” attached as Exhibit 55.
83
   See Ex. 37.


                                                      59
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        248.     The CPNH project involved a $17.8 million subcontract that was awarded to

Defendant Athena for which it was supposed to perform framing, drywall and acoustical tile work.

        249.     As was standard in their “special relationship,” the entire scope of the subcontract

was passed through to Component West.

        250.     In exchange for carrying the CPNH contract, Athena received a substantial fee,

which by August 3, 2012 amounted to $249,445.69.84

                 4.    Russell Knox Building - DSS Facility Addition Project (“DSS”)

        251.     In the spring of 2013, Defendant Hensel Phelps was awarded a $32.5 million design

and build contract for the Russell Knox Building—P646 DSS Facility Addition Project (“DSS”)—

located at the Marine Corps base in Quantico, Virginia.

        252.     The DDS project consisted of a 40,000 square foot secure facility, which is an

addition to the existing Military Department Investigative Agencies (“MDIA”) Headquarters that

was completed by the Hensel Phelps/Fentress team in 2010. The project scope included design

and construction of the addition and an elevated parking garage.

        253.     According to the Subcontracting Plan, the subcontracting goals were 77% small

business, including the following subcontracting goals: 17% DBE, 17.25% WOSB, 3.5% VOSB,

3.5% SDVOSB, and 15.2% HUBZone.85

        254.     To meet its subcontracting goals, Defendant Hensel Phelps approached Athena

about serving as the first-tier subcontractor, since it could meet all of the goals through the use of

one subcontractor.




84
  “Athena Job Profitability Summary for January 1 through August 3, 2012,” attached as Exhibit 56.
85
  “Athena Subcontract with Hensel Phelps for DSS Facility Addition Dated 07.02.2013,” attached as Exhibit 57, at
¶ 23.


                                                       60
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        255.     After their discussions, Defendant Hensel Phelps awarded Defendant Athena

several subcontracts totaling nearly $8 million for this project.

        256.     For example, on July 2, 2013, Athena was awarded a subcontract worth $166,000

to design, furnish and install the fire protection system for the DSS project.86

        257.     According to the subcontract, “it is understood that small business participation is

a requirement of the prime contract and therefore also a requirement of this subcontract

agreement.”87 “This subcontractor therefore agrees to provide the following small business

participation at the first-tier level of this subcontract agreement:” 100% each for small business,

SDB, WOSB, HUBZone, VOSB and SDVOSB.88 All of the subcontracts issued on the DSS

project had similar language.

        258.     Defendant Athena had no experience or expertise in designing and installing a fire

protection system.

        259.     Despite the subcontract’s requirements, Athena subcontracted the entire scope of

the fire protection system project to a large business, National Fire Protection LLC (“NFP”),

located at 515 Dover Rd, Rockville, Maryland 20850.89 NFP is not qualified under any of the

SBA’s small business programs. Rather, NFP is a subsidiary of the Kirin Group, LLC, which is a

private national construction company with annual revenues of approximately $250 million.

        260.     In addition to NFP, Athena was awarded electrical ($4,684,000) and mechanical

($3,117,000) subcontracts totaling more than $7.8 million. Athena had no expertise, personnel,

tools, or equipment required to perform electrical or mechanical work.




86
   Id.
87
   Id.
88
   Id.
89
   “Athena Request for Periodic Payment Dated 05.30.2014,” attached as Exhibit 58; “Athena Spreadsheet for
Russell Knox Project with contacts,” attached as Exhibit 59.


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          261.   Defendant Hensel Phelps never expected Athena to do any work relating to these

subcontracts. The electrical scope was subcontracted to MC Dean, a large business located at 1765

Greensboro Station Place in Tysons, Virginia, and the mechanical scope was subcontracted to

Southland Industries, another large business located in Garden Grove, California. Neither MC

Dean nor Southland qualify as small businesses under any SBA program.

          262.   In exchange for its agreement to carry these contracts, Defendant Hensel Phelps

paid Athena a $37,500 fee and $66,500 for the salary of the Project Manager.90

          263.   In addition, Athena was paid a 2% fee on all approved change orders.91 For

example, MC Dean had $1,158,000 in approved change orders.92 Accordingly, Defendant Athena

received an additional $23,160 kickback for carrying this subcontract.93

          264.   By the time the DSS project was finished, Defendant Athena had been paid

hundreds of thousands of dollars in impermissible fees despite not performing any actual work or

management of these subcontracts.

          265.   And as submitted to the government contracting officer, Defendant Hensel Phelps

falsely    represented    that   it   exceeded     its small      business     subcontracting     goals—i.e.,

WOSB/HUBZone/SDVOSB, by awarding Athena the DSS subcontract.

                 5.    Fort Belvoir Nolan Parking Garage—Fort Belvoir

          266.   While work was commencing on the DSS project, Defendant Hensel Phelps was

awarded a design and build contract with the U.S. Army Corps of Engineers (USACE) – Baltimore

District for the Nolan Building Parking Garage (“Nolan”).




90
   “Athena Request for Periodic Payment Dated 03.31.2014,” attached as Exhibit 60; “Athena Subcontract
Amendment No. 1,” attached as Exhibit 61.
91
   “Athena Change Order Request #5 Dated 10.31.2013,” attached as Exhibit 62.
92
   See Ex. 59.
93
   See Ex. 60.


                                                      62
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        267.     The Nolan project consisted of a five-level, 534,000 square foot parking garage

with a total of 1,420 parking spaces, a 12,000 square feet central utility building along with standby

generators.

        268.     To meet its subcontracting goals, Defendant Hensel Phelps went back to Athena to

serve as the first-tier subcontractor, since it could meet all of the goals through the use of one

subcontractor.

        269.     After subsequent discussions, Defendant Hensel Phelps awarded Defendant Athena

small business subcontracts totaling $5,545,090 for this project.94

        270.     Consistent with its past projects, Defendant Hensel Phelps never expected Athena

to do any work relating to these subcontracts. The electrical work (valued at $3,510,990) was

subcontracted to Bergelectric, a large business located in Escondido, California, and the

mechanical scope (valued at $1,849,100) was subcontracted to large business Southland Industries.

Neither Bergelectric nor Southland qualified as small businesses under any SBA program.95

        271.     In exchange for Athena’s agreement to carry these contracts, Defendant Phelps paid

Athena a 2.5% fee worth approximately $130,000 and an additional $87,800 for the salary of

Athena’s Project Manager.96

        272.     By the time this project was finished, Defendant Athena had been paid hundreds of

thousands of dollars in impermissible fees despite not performing any actual work or management

of the Nolan subcontracts.




94
   “Athena Spreadsheet for Nolan Project with contacts,” attached as Exhibit 63.
95
   Id.
96
   Id.


                                                        63
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        E.       BARTON MALOW COMPANY

                 Audie Murphy VA Hospital

        273.     Athena was also involved in the renovation of the Audie Murphy VA Hospital in

San Antonio, Texas. While Athena’s pass-through scheme at the Audie Murphy facility was

similar to other federal projects, Athena documented its fraudulent conduct differently.

        274.     On March 12, 2013, Defendant Athena bid on the Audie Murphy VA Hospital

Ward Upgrades/Expansion-4B. 97            Athena’s total bid for the project was $5,145,350, which

included a 1% bond fee.98

        275.     On March 13, 2013, Athena submitted its bid to be the prime contractor (not the

first-tier subcontractor)99 for the Ceilings and Lighting Phase 2 in the amount of $2,190,700.100

        276.     Defendant Athena was awarded both contracts by the VA.101 According to Ms.

Peebles, “these 2 projects are Athena’s #1 priority. They are the stepping stone to much more

work and prosperity.”102

        277.     Defendant Athena had neither the ability nor the interest to serve as the prime

contractor for this project.

        278.     Unbeknownst to the government, Defendant Athena had already agreed to allow

Defendant Barton Malow to serve as its subcontractor on this contract. To achieve this deception,

it claimed that two of Defendant Barton Malow’s senior project executives, David Garrett and



97
   “Email dated Mar. 12, 2013 from Karen Papa to Amber Peebles requesting permission to submit Athena Bid on
Audie Murphy VA Hospital Project,” attached as Exhibit 64; “Letter to Jay Roberson at VA with Athena's Bid on
Audie Murphy VA Hospital Project,” attached as Exhibit 65.
98
   Id.
99
   “Athena Bid for Phase 2 of Ceiling and Lighting at Audie Murphy,” attached as Exhibit 66.
100
    “Email dated Mar. 3, 2013 from Amber Peebles to Jaye Roberson at VA re Ceiling and Lighting Job at Audie
Murphy VA Hospital,” attached as Exhibit 67; “Letter from Amber Peebles to Jaye Roberson at VA re Phase 2 of
Ceiling and Lighting Job at Audie Murphy VA Hospital,” attached as Exhibit 68.
101
    See Ex. 66.
102
    “Email dated July 10, 2013 from Melissa Schneider to Amber Peebles, Karen Papa, Relator, and David Garrett re
importance of Audie Murphy VA Hospital Project,” attached as Exhibit 69.


                                                       64
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David Moody, worked for Athena.103 According to Athena’s site-specific Safety Manual, which is

submitted to the government: “It is the responsibility of David Moody, Athena Construction Group

Superintendent/Safety Officer to implement this Fall Protection Plan for this project.”104

        279.     In addition, on June 21, 2013, Ms. Schneider emailed the VA and identified “David

Moody [as] our superintendent.”105 At all relevant times, Mr. Moody worked for Barton Malow

and was never an employee or superintendent for Athena.

        280.     Similar to the schemes outlined above, Defendant Barton Malow (not Athena)

selected all of the second-tier subcontractors that would actually perform all of the work.106 For

example, on June 21, 2013, Athena emailed the VA’s Jeff Torres and informed him that the

subcontracts for the Ceiling and Lighting Phase were being awarded to the following companies107:

        Demolition & Abatement: KMAC
        Mechanical: Great America Customer Builders
        Electrical: CEC Electrical
        Sprinkler: Sun Automatic Fire Sprinkler
        Acoustical Ceiling: A-1 Total Interiors108

        281.     A few days later, Mr. Torres emailed Athena and stated that he “made a mistake in

recommending KMAC” for the demolition and abatement work because KMAC was not

performing as expected on a different VA project.109 Instead of selecting a new contractor to

replace KMAC, Athena forwarded the email to Barton Malow’s Mr. Garrett.110 In response, Mr.



103
    “Statement and Acknowledgment of Prime and Subcontractors with David Garrett listed as Athena Project
Manager,” attached as Exhibit 70.
104
    “Athena Safety Manual for Audie Murphy VA Hospital Site which lists David Garrett as Project Manager,”
attached as Exhibit 71, at 4, 28, 34.
105
    “Email dated June 21, 2013 from Melissa Schneider to Jeff Torres at VA re Athena subcontractors for Ceiling
and Lighting Phase 2,” attached as Exhibit 72.
106
    “Email dated Mar. 8, 2013 from David Garrett to Dustin Cook of Steel Service requesting Steel Service bid as a
second-tier sub,” attached as Exhibit 73.
107
    See Ex. 72.
108
    “Athena Subcontract with A1 Total Interiors,” attached as Exhibit 74.
109
    “Email dated June 25, 2013 from Jeff Torres at VA to Melissa Schneider and Smith re Poor Performance of
KMAC on other VA projects,” attached as Exhibit 75.
110
    Id.


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Garrett informed Athena that Barton Malow selected ColeBrack Demolition to replace KMAC.111

Posing as the real decisionmaker, Athena notified the VA that Athena picked ColeBrack as the

second-tier subcontractor, while concealing from the government the fact that Athena was merely

carrying out Barton Malow’s directive.112

        282.     In exchange for serving as the pass-through prime contractor for this project, similar

to the CPNH, Athena received a fee of approximately 2% of the subcontract.

        F.       CDM SMITH/COAKLEY WILLIAMS JV

                 United States Marine Corps University

        283.     On September 25, 2012, Defendant CDM Smith/Coakley Williams JV was

awarded an $80,548,000 contract for the design and construction of the Marine Corps University

Research Center Addition and Marine Corps University Academic Instruction Facility located at

Marine Corps Base Quantico (“Quantico Project”). The Quantico Project contract also contains

two unexercised options, which could increase the contract value to $103,621,750.

        284.     To meet its subcontracting goals, Defendant CDM Smith/Coakley Williams JV

approached Athena to serve as the first-tier subcontractor, since it could meet all of the goals

through the use of one subcontractor.

        285.     On March 5, 2013, Defendant Athena was awarded a $9,700,000 subcontract to

furnish and install the entire mechanical plumbing and fire protection system for the Quantico

Project.113




111
    “Email dated June 25, 2013 from David Garrett to Relator selecting ColeBrack as the new subcontractor for
Athena,” attached as Exhibit 76.
112
    “Email dated June 25, 2013 from Relator to Jeff Torres at VA passing along Barton Malow's new choice of
ColeBrack as Athena’s selection,” attached as Exhibit 77.
113
    “Subcontract Agreement between CDM Smith/Coakley Williams JV and Athena,” attached as Exhibit 78.


                                                       66
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        286.     Defendant CDM Smith/Coakley Williams JV never expected Athena to do any

work relating to this subcontract. The entire scope of the mechanical plumbing subcontract

($7,066,473) was awarded to large business Southland Industries.114

        287.     Southland Industries negotiated the terms of the subcontract directly with CDM

Smith/Coakley JV.115

        288.     On paper, it appeared that Athena was going to do $2,633,527 in self-performed

work.116 However, Athena had no intention of doing any work on this project and did no work on

this project.

        289.     In exchange for carrying this subcontract, Defendant CDM Smith/Coakley

Williams JV paid Athena a 2.62% fee totaling $243,000, as well as $75,000 for the salary of the

Project Manager.117

        290.     By the time this project was finished, Defendant Athena had been paid hundreds of

thousands of dollars in fees and had performed no actual work or management of this subcontract.

        G.       TURNER/GILBANE JV

                 Fort Belvoir VA Hospital

        291.     Defendant Turner/Gilbane JV was awarded a $1.03 billion, 1.3 million square foot

design and build contract relating to the construction of the new Fort Belvoir Community Hospital,

which is located just south of Washington, D.C. The Fort Belvoir Hospital replaced the old DeWitt

Army Community Hospital and integrated various aspects of the former Walter Reed Army

Medical Center.




114
    “Athena Spreadsheet for Marine Corps University Project with contacts,” attached as Exhibit 79.
115
    See Ex. 78, at 45.
116
    See Ex. 79; see also “Athena Spreadsheet re Subcontract with Southland Industries,” attached as Exhibit 80.
117
    See Ex. 79.


                                                        67
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        292.     To help meet the contract’s subcontracting goals, Turner/Gilbane JV awarded

Athena a $906,056 subcontract to install the carpet and flooring in the new hospital. Through the

issuance of change orders, Athena’s scope increased to cover almost all of the carpeting and

flooring in the new hospital. Accordingly, by April 25, 2011, the value of the subcontract had

ballooned to $9,219,500.118

        293.     Relator was the only Athena on-site employee who was assigned to work on the

Fort Belvoir Hospital. Consistent with Defendant Athena’s past practices, all of the work was

passed through to a large, second-tier subcontractor.                For the Fort Belvoir project, that

subcontractor was Commercial Carpets of America (“CCA”), which is located at 885A S. Pickett

Street in Alexandria, Virginia.

        294.     At all times material hereto, Gilbane/Turner JV was aware that Athena was acting

as a pass-through. For example, on February 2, 2011, Gilbane/Turner JV’s Ms. Pinkard emailed

Robert Todd of CCA directly regarding the need for a change order. Mr. Todd emailed Athena

and relayed the following message119:




118
   “Athena Monthly Reconciliation Statement dated 04.25.2011 and Waiver of Lien,” attached as Exhibit 81.
119
   “Email dated Feb. 2, 2011 from Robert Todd of Commercial Carpets of America to Melissa Schneider, Amber
Peebles, and Relator re communication with Lee Ann Pinkard of prime contractor Gilbane/Turner JV,” attached as
Exhibit 82.


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         295.     Ms. Pinkard emailed CCA because it was widely known that CCA was the only

company on the job site and that CCA was performing all the flooring work. The only task that

Defendant Athena was performing was transferring CCA’s documents to Athena’s own letterhead

and otherwise concealing the pass-through scheme from the government.

         296.     In exchange for carrying the Fort Belvoir flooring subcontract, Defendant Athena

was paid 3% of all the passed through work, in the amount of $276,585.120

         297.     The Monthly Reconciliation Statement contains a box entitled “Small Business

Fee,” which reveals how Athena passed the money through to CCA.121 Within the box, there is a

line for Athena’s work, which is zeroed out because it did no work on this project.122 There is also

a line for CCA’s work that shows it was owed $362,073 for flooring work completed through




120
    See Ex. 81.
121
    Id.
122
    Id.


                                                 69
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March 31, 2011.123 According to this document, Athena was owed 3%, or $10,862.19, as its

“Small Business Fee.”124

          298.     To get its fee, Defendant Athena issued a check request and the required Affidavit,

Partial Waiver of Lien and Release in the full amount $362,073 to Turner/Gilbane JV.125 That

same day, CCA issued a check request and the required Affidavit, Partial Waiver of Lien and

Release in the amount $351,211 to Athena.126 The difference between the two is the $10,862.19

that Athena pocketed as its impermissible “Small Business Fee.”

          H.       ATHENA ACTED AS A PASS-THROUGH ADDING “LITTLE OR NO VALUE TO THE
                   PROCUREMENT”

          299.     The above arrangements represent an impermissible pass-through, according to the

SBA:

          Q. A small business approached our company with an innovative idea. This
          consulting firm, which received various federal certifications, i.e. HUBZone, etc.,
          has proposed to us that we issue subcontracts to his company and he in turn will
          forward the procurement to an appropriate member of his consortium for
          processing. The prime contractor will then be able to take credit for doing business
          with a certified HUBZone small business.

          A. This arrangement is merely a pass-through which adds little or no value to the
          procurement. It does not comport with the spirit or intent of the subcontracting
          program.

U.S. Small Bus. Admin., SBLO Handbook, supra, at 77.

          300.     Since at least 2011, Defendant Athena has made hundreds of thousands of dollars

from selling its small business certifications while contributing nothing of value to these important

government projects.




123
    Id.
124
    Id.
125
    Id. at 2, 3.
126
    Id.


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       301.    Similarly, Co-Defendants have gamed the system to gain preferential treatment

from the government in order to make millions and in the process have done great harm to real

small businesses that have been shut out from these contracts.

       302.    From     the   outset,    Co-Defendants   had     certified   that   Athena   was   a

SB/HUBZone/WOSB/VOSB/SDVOSB subcontractor that (1) would self-performed valuable

work on and/or (2) would supply equipment and materials for the above projects when Co-

Defendants knew Athena would do neither.

       303.    Co-Defendants knew Athena would only act as a pass-through for a downstream

subcontractor, which would not itself qualify as a small business. Co-Defendants knew the

downstream subcontractors would perform this work and supply the materials and would receive

the majority of the financial benefit.

       304.    Co-Defendants knew that Athena would self-perform little work of value and would

only collect a fee out of the subcontract amount as compensation for the fraudulent use of its

SB/HUBZone/WOSB/VOSB/ SDVOSB status.

       305.    Co-Defendants also falsely represented that Athena would add value to the projects

by negotiating price and other terms of services when, in reality, the downstream subcontractor

had negotiated such terms directly with the Co-Defendants and used Athena only as a pass-

through.

       306.    Co-Defendants knew that Athena would serve as a pass-through by collecting

invoices from the downstream subcontractor, transferring the information from those invoices to

Athena’s own invoices, adding a markup, and passing the Athena marked-up invoices on to the

Co-Defendants.




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       307.    Co-Defendants knew Athena would not manage the work that it contracted to

perform. Specifically, Co-Defendants knew and expected that Athena would fail to perform the

management functions of scheduling work operations; preparing and submitting payrolls; hiring

and firing employees; and ordering all equipment, materials, and supplies.

       308.    Co-Defendants also knew that Athena would fail to own or lease all the equipment

required to perform its contract.

       309.    With regard to providing employees necessary to perform the subcontracts, Co-

Defendants knew:

           o Athena would fail to have its own regular workforce. Instead, employees would be

               provided by the downstream subcontractor.

           o Athena would not be responsible for the payroll and labor compliance requirements

               for all employees working on the subcontract. Instead, these responsibilities would

               be handled by the downstream subcontractors.

       310.    Co-Defendants knew Athena would not be responsible for material and supplies it

used in performance of its contracts:

           o Athena would not negotiate the price of all materials. This would be handled by

               the downstream subcontractors.

           o Athena would not determine the quality and quantity of all materials. This would

               be handled by the downstream subcontractors.

           o Athena would not order all necessary materials. This would be handled by the

               downstream subcontractors.

           o Athena would not process all invoices for materials. This would be handled by the

               downstream subcontractors.




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           o Athena would not pay for all materials. This would be handled by the downstream

                 subcontractors.

       311.      With regard to subcontract performance, Co-Defendants knew:

           o Athena would not be financially liable on the performance bond. The downstream

                 subcontractors were financially liable.

           o Athena would not assume responsibility for the subcontract performance. The

                 downstream subcontractors assumed this responsibility.

           o Athena would not control subcontract management.                     The downstream

                 subcontractor controlled subcontract management.

           o Athena would fail to supervise any distinct element of work by assuming financial

                 risks appropriate for amount of work performed. All elements of the work would

                 be supervised by the downstream subcontractors.

VIII. DEFENDANTS’ FRAUDULENT SUBMISSION OF FALSE CLAIMS TO
      FEDERAL PROGRAMS

       312.      Businesses seeking to do business with the government must complete and sign a

FAR Report that contains representations and certifications relating to the businesses’ eligibility

to participate in certain government programs. This FAR Report, which is ultimately submitted

in the SAM database, contains the following averment:

              I have read each of the FAR and DFARS provisions presented below. By
              submitting this certification, I, [company representative], am attesting to
              the accuracy of the representations and certifications contained herein,
              including the entire NAICS table. I understand that I may be subject to
              penalties if I misrepresent [the company] in any of the below
              representations or certifications to the government.

       313.      In addition, contractors (like Defendants) who do business with the government

typically submit invoices for payment to the government using paper, email (less common), and

electronic portals (most common).


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       314.    The process begins when a contractor completes an electronic invoice form, which

requires certain information including the contract number, the contractor’s code and the method

for payment. Also included on the invoice are fields indicating whether the contract is unrestricted

or a set-aside acquisition.

       315.    Defendants submitted numerous false claims to the government in the form of

invoices on their unlawfully obtained contracts, which impliedly certified that Defendants were

legitimate small business concerns when they were awarded subcontracts by Defendants.

       316.    Also, Defendants made fraudulent representations to the United States each time it

submitted their semi-annual ISRs or SSRs, in which they disclosed the details of each of the

subcontracts purportedly awarded to small businesses, as well as the extent of their compliance

with their Small Business Subcontracting plan.

       317.    Defendants’ fraudulent scheme served its intended purpose, as they induced the

government to pay Defendants bonuses as well as other monies for services that involved work

performed by ineligible small business subcontractors.

       318.    The intentional misrepresentations regarding Athena’s true size (when including

average annual receipts from affiliated ostensible subcontractors) that were contained in their

certifications submitted to the government, were false within the meaning of the FCA.

       319.    Claims for payments submitted by Defendants to the government, in part or in

whole, were based on their knowledge that Athena had misrepresented its size as small, and thus

were false within the meaning of the FCA.

       320.    Athena’s misrepresentations regarding its size as small caused it to be awarded

subcontracts that were void ab initio and ultimately caused the submission of claims for payment

that were false when made.




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       321.    Athena’s misrepresentations regarding its size status as small were made knowingly

and with the intent to cause the submission of false claims to government Programs.

       322.    Government Programs paid Defendants bonuses and made additional transfers,

increasing revenue and profits, based on Defendants’ false claims and certifications, and as a result

have incurred and continue to incur significant damages due to Defendants’ intentional

misrepresentations regarding Athena’s size and status as a small business.

       323.    By falsely certifying their eligibility to receive monies on small business

subcontracts, and causing subsequent claims for payment to be made that Defendants knew were

ineligible for payment by government Programs, Defendants also made, used, or caused to be

made or used, false records or statements material to false or fraudulent claims, as alleged herein.

       324.    Defendants’ unlawful conduct resulted in tens of millions of dollars in improper

payments by government Programs.

IX.    DEFENDANTS IMPROPERLY SOLICITED/PAID /RECEIVED KICKBACKS IN
       VIOLATION OF THE AKA

       325.    Defendants regularly solicited, paid, and/or received kickbacks in violation of the

AKA and the FCA.

       326.    An AKA violation is a proper predicate for FCA liability on the grounds that: 1)

Defendants expressly undertook to comply with the AKA as a condition of payment under the

Prime Contracts and their flow down provisions, and thereafter certified (expressly and/or

impliedly) that they had complied with the AKA as a condition of payment, thereby supporting

liability for making false certifications (express and/or implied); and/or 2) violations of the AKA

“taint” the claims submitted to the government and render the claims “factually false” and

ineligible for payment because they violate a condition of payment.




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       327.    On numerous occasions, Defendants had reasonable grounds to believe that

violations of the AKA were occurring, and yet failed to promptly report the possible violations in

writing to the government. These failures constituted further violations of the AKA.

       328.    Defendants violated the FCA by expressly or impliedly making false statements,

records, or certifications in response to the government requests for proposal that they were in

compliance and would continue to comply with the AKA.

       329.    Defendants committed additional violations of the FCA by presenting or causing to

be presented to the government their claims to obtain payment in which they expressly or impliedly

made false statements, records or certifications that they had complied with the AKA.

       330.    The United States government, either directly or indirectly through its agencies or

intermediaries, would not have contracted with Defendants due to conflict or other reasons and/or

would have sought significant cost and/or price concessions had it known that the

contracts/subcontracts, products, and/or services for which the contracts were proposed were

subject to a scheme to violate the AKA provisions and pertinent FARs.

       331.    The United States government, either directly or indirectly through its agencies or

intermediaries, would not have honored Defendants’ claims for payment, had it known that the

contracts/subcontracts, products, and/or services for which the claims were made, were provided

in a manner that violates the AKA provisions and pertinent FARs.

X.     DEFENDANTS CONSPIRED WITH OTHER AFFILIATED ENTITIES TO
       DEFRAUD THE UNITED STATES

       332.    One facet of Defendants’ scheme involved one or more schemes with other entities

to further the overall fraudulent representations of Defendants’ size through a pattern and practice

of false and misleading representations (“overt acts”).




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       333.    The overt acts included the submission to government Programs by these affiliated

entities of knowingly false certifications of compliance with laws that are conditions of

government Program payments. As a result of these false certifications, government Programs

made payments to all Defendants under small business contracts that Defendants were ineligible

to receive. The Co-Conspirators include numerous other related entities through which Defendants

have conducted their fraudulent scheme.

       334.    Defendants and their co-conspirators shared in the conspiratorial objective to

deceive the United States concerning their affiliated relationships with one another, and with other

parties and further agreed and intended to each perform and to each benefit from these unlawful

overt acts in furtherance of Defendants’ scheme to target and financially injure government

Programs. Accordingly, Defendants and the co-conspirators entered into these unlawful financial

relationships for the purpose of Defendants’ planned scheme to target government Programs and

submit or cause the submission of false or fraudulent claims and records.

       335.    Defendants intentionally conspired amongst themselves and with one or more of

these affiliated entities to get false or fraudulent claims reimbursed by the United States. One or

more of these conspirators performed one or more overt acts to effect the object of the conspiracy,

and government Programs suffered damages as a result of these false or fraudulent claims.

       336.    Through the acts and omissions alleged herein, and from at least 2011 to the

present, Defendants, with each other and with affiliated entities known and unknown, knowingly

agreed and conspired to defraud the government by having false or fraudulent statements, records,

certifications, and invoices submitted to, paid and approved by government officials, their

contractors, intermediaries and/or their agents.




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       337.      By virtue of their conspiratorial agreement, Defendants caused to be presented,

made and/or used false or fraudulent invoices, and/or false records or statements, including size

and status certifications to government, causing the United States to suffer significant damages.

       338.      The United States is therefore entitled to recover from Defendants treble damages

under the Federal FCA, in an amount to be proved at trial, plus a civil penalty for each violation,

as well as double damages under the AKA, in an amount to be proved at trial, plus a civil penalty

of at least $10,000 for each violation.

XI.    DEFENDANT ATHENA’S UNLAWFUL RETALIATION AGAINST RELATOR

       339.      On January 10, 2017, Relator filed a Complaint, under seal, in the Middle District

of Pennsylvania, alleging that Defendant Athena violated the False Claims Act by engaging in the

fraudulent conduct described herein.

       340.      On September 12, 2017, the district court ordered that the Complaint be unsealed

and served upon Defendant Athena by Relator. On October 13, 2017, Relator effected service of

the Complaint on Defendant Athena in the manner prescribed by Rule 4 of the Federal Rules of

Civil Procedure.

       341.      On October 18, 2017, counsel for Athena, via letter addressed to Relator’s counsel,

demanded that Relator’s FCA Complaint be dismissed because it was frivolous, without good faith

basis in law or in fact, and clearly designed to “harass” Athena. Athena’s counsel stated that if the

Complaint was not withdrawn, Athena would “respond to [the] Complaint and [would] seek Rule

11 sanctions.”

       342.      Shortly thereafter, in reprisal for Relator having taken acts in furtherance of a qui

tam suit under the False Claims Act, Defendant Athena filed a lawsuit against Relator in the Circuit

Court for the County of Prince William in Virginia, Case No. 17-8365.




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       343.    To harass and intimidate Relator into withdrawing his pending qui tam Complaint,

Defendant Athena sought damages of at least $106,153 for breach of contract. Athena also

asserted a claim for its attorney’s fees incurred in bringing the state court action.

       344.    Defendant Athena’s state court lawsuit, which was successfully removed to federal

court in the Eastern District of Virginia on December 7, 2017, was filed to retaliate against Relator

for his reporting of fraud to the Government.

       345.    Defendant Athena’s lawsuit against Relator was dismissed on February 23, 2018.

       346.    Athena’s unlawful and retaliatory conduct toward Relator, which violates 31 U.S.C.

§ 3730(h) of the False Claims Act, was motivated because Athena knew that Relator was taking

the above described lawful acts.

                                           COUNT I
                   (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(A))

       347.    Relator realleges and incorporates by reference the allegations made in the

preceding paragraphs of this Second Amended Complaint as though fully set forth herein.

       348.    This is a claim for treble damages and forfeitures under the FCA, 31 U.S.C.

§§ 3729–3733.

       349.    Through the acts described above, Defendants and their agents and their employees

knowingly misrepresented submitted or caused to be submitted to the United States government

knowingly false or fraudulent claims for set-aside small business contracts.

       350.    As alleged herein, Defendants’ representations to the United States were knowingly

false. By engaging in the conduct alleged herein, Defendants knowingly submitted, or caused to

be submitted, false claims for payment to the United States, in violation of 31 U.S.C.

§ 3729(a)(1)(A).




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       351.    Through the acts described above, Defendants and their agents and employees

knowingly made, used or caused to be made or used false statements and records to get such false

and fraudulent claims paid and approved by the United States government.

       352.    The United States, unaware of the falsity of the records, statements and claims made

by Defendants, paid Defendants for claims that would otherwise not have been allowed.

       353.    By reason of Defendants’ false records, statements and claims, the United States

has been damaged and continues to be damaged in the amount of tens of millions of dollars.

                                          COUNT II
                  (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(B))

       354.    Relator incorporates herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

       355.    As alleged herein, Defendants knowingly made false representations to the United

States. Defendants thus knowingly used false records or statements to get false or fraudulent

claims paid or approved by the United States in violation of the FCA, 31 U.S.C. § 3729(a)(1)(B).

       356.    Because of Defendants’ acts, the United States sustained damages in an amount to

be determined at trial and, therefore, is entitled to treble damages under the FCA, plus civil

penalties of not less than $5,500 and up to $11,000 for each violation.

       357.    By reason of Defendants’ false records, statements, and claims, the United States

has been damaged and continues to be damaged in the amount of tens of millions of dollars.

                                         COUNT III
                  (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(C))

       358.    Relator incorporates herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.




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       359.    As detailed above, Defendants knowingly conspired, and may still be conspiring,

with the various entities and/or persons alleged herein (as well as other unnamed co-conspirators)

to commit acts in violation of 31 U.S.C. §§ 3729(a)(1) & (a)(2); 31 U.S.C. §§ 3729(a)(1)(A) &

(a)(1)(B). Defendants and these entities and/or persons committed overt acts in furtherance of the

conspiracy as described above.

       360.    As a result of Defendants’ actions as set forth above, the United States has been

damaged and continues to be damaged in the amount of tens of millions of dollars.

                                          COUNT IV
                   (Violation of False Claims Act, 31 U.S.C. § 3729(a)(1)(G))

       361.    Relator incorporates herein by reference the preceding paragraphs of the Second

Amended Complaint as though fully set forth herein.

       362.    As alleged in detail above, Defendants knowingly avoided or decreased their

obligation to pay or transmit money to the government. Specifically, Defendants: (i) made, used,

or caused to be made or used, records or statements to conceal, avoid, or decrease obligations to

the United States; (ii) the records or statements were in fact false; and (iii) it knew that the records

or statements were false.

       363.    As a result of Defendants’ actions as set forth above, the United States of America

has been, and may continue to be, severely damaged.

       364.    By reason of Defendants’ false records, statements, and claims, the United States

has been damaged and continues to be damaged in the amount of tens of millions of dollars.

                                           COUNT V
                      (Violation of False Claims Act, 31 U.S.C. § 3730(h))

       365.    Relator incorporates herein by reference the preceding paragraphs of the Complaint

as though fully set forth herein.




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       366.     Relator was threatened, harassed and discriminated against in the terms and

conditions of his employment by Athena in retaliation for lawful acts taken by Relator to report

violations of the FCA.

       367.     Because of Relator’s lawful acts in furtherance of protected activities investigating

and reporting fraud, Defendant Athena retaliated against Relator by terminating his employment.

       368.     Athena’s unlawful termination of Relator has proximately caused Relator to suffer

and to continue to suffer substantial damage, in an amount to be proven at trial.

XII.   PRAYER FOR RELIEF

       WHEREFORE, Relator prays for judgment against Defendants as follows:

       A.       That Defendants be ordered to cease and desist from submitting any more false

   claims, or further violating 31 U.S.C. §§ 3729–3733;

       B.       That judgment be entered in Relator’s favor and against Defendants in the amount

   of each and every false or fraudulent claim, multiplied as provided for in 31 U.S.C. § 3729(a),

   plus a civil penalty of not less than five thousand five hundred dollars ($5,500) or more than

   eleven thousand dollars ($11,000) per claim as provided by 31 U.S.C. § 3729(a), to the extent

   such multiplied penalties shall fairly compensate the United States for losses resulting from

   the various schemes undertaken by Defendants, together with penalties for specific claims to

   be identified at trial after full discovery;

       C.       That judgment be entered in Relator’s favor and against Defendants in the amount

   of the damages sustained by Relator, to be identified at trial after full discovery, resulting from

   Defendants’ unlawful retaliation against Relator;

       D.       That Relator be awarded the maximum amount allowed pursuant to 31 U.S.C.

   § 3730(d);




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